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                     IN THE UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

 JANE DOE 1,                                     §
                                                 §
          Plaintiff,                             §
                                                 §
 vs.                                             §
                                                 §
 RED ROOF INNS, INC., VARAHI                     §   CIVIL ACTION FILE
 HOTEL, LLC, FMW RRI NC, LLC,                    §
 WESTMONT HOSPITALITY GROUP,                     §   NO. 1:19 CV 03840-
 INC., RRI III, LLC, WHG SU                      §   WMR
 ATLANTA, LP, SUB-SU HOTEL GP,                   §
 LLC, CHOICE HOTELS                              §
 INTERNATIONAL, INC., WYNDHAM                    §
 HOTELS & RESORTS, INC.,                         §
 MICROTEL INNS AND SUITES                        §
 FRANCHISING, INC., KUZZINS                      §
 BUFORD, LLC, RAMADA                             §
 WORLDWIDE, INC., JEET & JJ, LLC,                §
 NEWTEL V CORPORATION, CPLG                      §
 HOL, LLC, CPLG PROPERTIES, LLC,                 §
 COREPOINT LODGING, INC., LQ                     §
 MANAGEMENT, LLC, LA QUINTA                      §
 WORLDWIDE, LLC, HAMENT DESAI,                   §
 VAD PROPERTY MANAGEMENT,                        §
 LLC, VANTAGE HOSPITALITY                        §
 GROUP, INC., 2014 SE OWNER 5-                   §
 EMORY, LLC, LAXMI DRUID HILLS                   §
 HOTEL, LLC, JHM HOTELS                          §
 MANAGEMENT, INC., AURO                          §
 HOTELS MANAGEMENT, LLC,                         §
 HILTON FRANCHISE HOLDINGS,                      §
 LLC, HILTON DOMESTIC                            §
 OPERATING COMPANY, INC.,                        §
 HILTON WORLDWIDE HOLDINGS,                      §
 INC. and JOHN DOES 1-10,                        §
                                                 §

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          Defendants,                                  §

            DEFENDANT KUZZINS BUFORD, LLC’S ANSWER AND
            DEFENSES TO PLAINTIFF’S AMENDED COMPLAINT
                   AND DEMAND FOR JURY TRIAL

        COMES NOW, KUZZINS BUFORD, LLC, (“Kuzzins”) a Defendant in

the above-styled civil action, and without waiving and defenses as to jurisdiction or

venue, hereby files its Answer and Defenses to Plaintiff’s Amended Complaint,

stating as follows:

                                            FIRST DEFENSE

        The Plaintiff has failed to state a claim upon which relief can be granted

against Kuzzins.

                                           SECOND DEFENSE

        Venue may be improper as to Kuzzins.

                                           THIRD DEFENSE

        Jurisdiction may be improper as to Kuzzins.

                                           FOURTH DEFENSE

        The Plaintiff’s claims are barred on the grounds that no act or omission of

Kuzzins proximately caused the alleged occurrences in this action or the Plaintiff’s

alleged damages.

                                           FIFTH DEFENSE

        The Plaintiff’s claims are barred on the grounds of acquiescence, waiver,


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estoppel, unclean hands, statute of limitations and/or laches.

                                            SIXTH DEFENSE

        The losses, if any, sustained by the Plaintiff were the result of conduct of

persons or entities over whom Kuzzins had no control or responsibility, and for

whose conduct Kuzzins is thus not liable.

                                           SEVENTH DEFENSE

        The Plaintiff’s claims against Kuzzins are barred because there is no causal

connection between any alleged act, error, or omission by Kuzzins and the

Plaintiff’s alleged damages.

                                           EIGHTH DEFENSE

        The injuries or damages complained of, if any, were caused in whole or in

part by the negligence of the Plaintiff and such negligence equaled or exceeded any

negligence on the part of Kuzzin, if any.

                                            NINTH DEFENSE

        The Plaintiff willingly, knowingly and voluntarily exposed herself to and

assumed the risk and therefore, Plaintiff’s recovery is barred.

                                           TENTH DEFENSE

        If it is judicially determined that Kuzzins was negligent or breached a duty

as alleged, which is specifically denies, then such negligence or breach of duty was

not a proximate cause of the damages claimed.


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                                       ELEVENTH DEFENSE

        The Plaintiff has released, settled, entered into accord and satisfaction or

otherwise compromised her claims herein and, accordingly, said claims are barred

by operation of law.

                                           TWELFTH DEFENSE

        The Plaintiff’s damages, if any, were caused by superseding, intervening

acts, which were beyond the knowledge or control of Kuzzins.

                                     THIRTEENTH DEFENSE

        The Plaintiff’s claims are barred in whole or in part because of her own

comparative negligence.

                                     FOURTEENTH DEFENSE

        Kuzzins at all times relevant hereto act in accordance with the applicable

standard of care under the circumstances.

                                       FIFTEENTH DEFENSE

        The Plaintiff has failed to join an indispensable party.

                                       SIXTEENTH DEFENSE

        Even if Plaintiff could state a claim for relief in this action, which Kuzzins

denies, Plaintiff cannot prove actual or punitive damages, and hence can only

recover nominal damages.




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                                    SEVENTEENTH DEFENSE

        To the extent Plaintiff has made any claim for special damages, she has

failed to state such claim with the requisite specificity. Therefore, Plaintiff’s claims

are barred and should be dismissed.

                                     EIGHTEENTH DEFENSE

        Plaintiff has failed to state a claim upon which she may be awarded

compensatory or punitive damages. Furthermore, some or all of Plaintiff’s

damages claims are capped by statute and, so, Plaintiff is prohibited from claiming

or collecting any damages, which exceed any statutory cap.

                                     NINETEENTH DEFENSE

        Plaintiff’s claim for punitive damages fails to state a claim upon which relief

can be granted.

                                      TWENTIETH DEFENSE

        Plaintiff’s request for punitive damages fails because Kuzzins did not act

with malice or reckless indifference to Plaintiff’s legally protected rights.

                                   TWENTY-FIRST DEFENSE

        Plaintiff has failed to plead facts sufficient to support her claim for

attorney’s fees, fees and costs.

                                 TWENTY-SECOND DEFENSE

        As discovery has not yet begun, Kuzzins specifically reserves the right to


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raise any additional claims or affirmative defenses which may be discovered.

Defenses asserted herein are based upon the initial theories of defense counsel.

Kuzzins further specifically reserves the right to withdraw or add any defenses to

conform to the evidence presented at the time of trial.

                                   TWENTY-THIRD DEFENSE

        As a next Defense, Kuzzins answers the numbered paragraphs of Plaintiff’s

Amended Complaint as follows:

                                           INTRODUCTION

                                                1.

        The allegations contained in paragraph 1 of the Amended Complaint are not

directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny the

allegations contained in Paragraph 1 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                                2.

        Kuzzins denies the allegations contained in Paragraph 2 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 2 of the Amended Complaint, for want of knowledge or information

sufficient to form a belief as to the truth thereof, and puts Plaintiff upon strict proof


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of the same.

                                           3.

        Kuzzins denies the allegations contained in Paragraph 3 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 3 of the Amended Complaint, for want of knowledge or information

sufficient to form a belief as to the truth thereof, and puts Plaintiff upon strict proof

of the same.

                                           4.

        Kuzzins denies the allegations contained in Paragraph 4 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 4 of the Amended Complaint, for want of knowledge or information

sufficient to form a belief as to the truth thereof, and puts Plaintiff upon strict proof

of the same.

                                           5.

        Kuzzins denies the allegations contained in Paragraph 5 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 5 of the Amended Complaint, for want of knowledge or information


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sufficient to form a belief as to the truth thereof, and puts Plaintiff upon strict proof

of the same.

                                           6.

        Kuzzins denies the allegations contained in Paragraph 6 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 6 of the Amended Complaint, for want of knowledge or information

sufficient to form a belief as to the truth thereof, and puts Plaintiff upon strict proof

of the same.

                                           7.

        Kuzzins denies the allegations contained in Paragraph 7 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 7 of the Amended Complaint, for want of knowledge or information

sufficient to form a belief as to the truth thereof, and puts Plaintiff upon strict proof

of the same.

                                           8.

        Kuzzins denies the allegations and all subparts contained in Paragraph 8 of

the Amended Complaint to the extent that it implies any wrongdoing on the part of

Kuzzins. Otherwise, Kuzzins can neither admit nor deny the remaining allegations


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and subparts contained in Paragraph 8 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                           9.

        Kuzzins denies the allegations and all subparts contained in Paragraph 9 of

the Amended Complaint to the extent that it implies any wrongdoing on the part of

Kuzzins. Otherwise, Kuzzins can neither admit nor deny the remaining allegations

and subparts contained in Paragraph 9 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                           10.

        Kuzzins denies the allegations contained in Paragraph 10 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 10 of the Amended Complaint, for want of knowledge or information

sufficient to form a belief as to the truth thereof, and puts Plaintiff upon strict proof

of the same.

                                           11.

        Kuzzins denies the allegations contained in Paragraph 11 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.


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Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 11 of the Amended Complaint, for want of knowledge or information

sufficient to form a belief as to the truth thereof, and puts Plaintiff upon strict proof

of the same.

                                            12.

        Kuzzins denies the allegations contained in Paragraph 12 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 12 of the Amended Complaint, for want of knowledge or information

sufficient to form a belief as to the truth thereof, and puts Plaintiff upon strict proof

of the same.

                                            13.

        Kuzzins denies the allegations contained in Paragraph 13 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 13 of the Amended Complaint, for want of knowledge or information

sufficient to form a belief as to the truth thereof, and puts Plaintiff upon strict proof

of the same.

                                            14.

        Kuzzins denies the allegations contained in Paragraph 14 of the Amended


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Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 14 of the Amended Complaint, for want of knowledge or information

sufficient to form a belief as to the truth thereof, and puts Plaintiff upon strict proof

of the same.

                                           THE PARTIES

I.      Plaintiff

                                               15.

        The allegations contained in paragraph 15 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 15 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

II.     Defendants

                                               16.

        Kuzzins denies the allegations contained in Paragraph 16 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 16 of the Amended Complaint, for want of knowledge or information

sufficient to form a belief as to the truth thereof, and puts Plaintiff upon strict proof


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of the same.

        A.       The Red Roof (Smyrna) Defendants

                                            17.

        The allegations contained in paragraph 17 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 17 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            18.

        The allegations contained in paragraph 18 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 18 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            19.

        The allegations contained in paragraph 19 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 19 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.


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                                            20.

        The allegations contained in paragraph 20 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 20 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            21.

        The allegations contained in paragraph 21 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 21 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            22.

        The allegations contained in paragraph 22 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 22 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            23.

        The allegations contained in paragraph 23 of the Amended Complaint are


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not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 23 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            24.

        The allegations contained in paragraph 24 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 24 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

        B.       The Red Roof (Atlanta) Defendants

                                            25.

        The allegations contained in paragraph 25 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 25 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            26.

        The allegations contained in paragraph 26 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny


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the allegations contained in Paragraph 26 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            27.

        The allegations contained in paragraph 27 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 27 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

        C.       Suburban Extended Stay Defendants

                                            28.

        The allegations contained in paragraph 28 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 28 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            29.

        The allegations contained in paragraph 29 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 29 of the Amended Complaint, for want of


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knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            30.

        The allegations contained in paragraph 30 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 30 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            31.

        The allegations contained in paragraph 31 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 31 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            32.

        The allegations contained in paragraph 32 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 32 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.


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        D.       The Microtel Defendants

                                            33.

        Kuzzins admits that it owned the Microtel Inn & Suite located at 1840

Corporate Boulevard NE, Atlanta, Georgia 30329 in response to the allegations

contained within paragraph 33 of the Amended Complaint. Kuzzins denies that it

managed, supervised or operated the Microtel Inn & Suite located at 1840

Corporate Boulevard NE, Atlanta, Georgia 30329, as it understands these terms.

Otherwise, Kuzzins can neither admit nor deny the allegations contained in

Paragraph 33 of the Amended Complaint, for want of knowledge or information

sufficient to form a belief as to the truth thereof, and puts Plaintiff upon strict proof

of the same.

                                            34.

        The allegations contained in paragraph 34 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 34 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            35.

        The allegations contained in paragraph 35 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny


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the allegations contained in Paragraph 35 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            36.

        The allegations contained in paragraph 36 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 36 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            37.

        The allegations contained in paragraph 37 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 37 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            38.

        The allegations contained in paragraph 38 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 38 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and


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puts Plaintiff upon strict proof of the same.

                                            39.

        The allegations contained in paragraph 39 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 39 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            40.

        The allegations contained in paragraph 40 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 40 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            41.

        The allegations contained in paragraph 41 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 41 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.




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                                            42.

        Kuzzins admits the allegations contained in Paragraph 42 of the Amended

Complaint.

        E.       The Ramada Defendants

                                            43.

        The allegations contained in paragraph 43 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 43 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            44.

        The allegations contained in paragraph 44 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 44 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            45.

        The allegations contained in paragraph 45 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 45 of the Amended Complaint, for want of


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knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            46.

        The allegations contained in paragraph 46 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 46 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            47.

        The allegations contained in paragraph 47 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 47 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            48.

        The allegations contained in paragraph 47 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 47 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.


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        F.       The La Quinta Defendants

                                            49.

        The allegations contained in paragraph 49 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 49 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            50.

        The allegations contained in paragraph 50 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 50 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            51.

        The allegations contained in paragraph 51 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 51 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.




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                                            52.

        The allegations contained in paragraph 52 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 52 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            53.

        The allegations contained in paragraph 53 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 53 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            54.

        The allegations contained in paragraph 54 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 54 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            55.

        The allegations contained in paragraph 55 of the Amended Complaint are


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not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 55 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            56.

        The allegations contained in paragraph 56 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 56 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

        G.       The Americas Best Defendants

                                            57.

        The allegations contained in paragraph 57 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 57 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            58.

        The allegations contained in paragraph 58 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny


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the allegations contained in Paragraph 58 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            59.

        The allegations contained in paragraph 59 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 59 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            60.

        The allegations contained in paragraph 60 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 60 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

        H.       The Hampton Inn (NDH Atlanta) Defendants

                                            61.

        The allegations contained in paragraph 61 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 61 of the Amended Complaint, for want of


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knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            62.

        The allegations contained in paragraph 62 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 62 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            63.

        The allegations contained in paragraph 63 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 63 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            64.

        The allegations contained in paragraph 64 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 64 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.


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                                            65.

        The allegations contained in paragraph 65 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 65 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            66.

        The allegations contained in paragraph 66 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 66 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            67.

        The allegations contained in paragraph 67 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 67 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            68.

        The allegations contained in paragraph 68 of the Amended Complaint are


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not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 68 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                             69.

        The allegations contained in paragraph 69 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 69 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

        I.       The John Doe Defendants

                                             70.

        The allegations contained in paragraph 70 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 70 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                    JURISDICTION & VENUE

                                             71.

        Kuzzins can neither admit nor deny the allegations contained in Paragraph


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71 of the Amended Complaint, for want of knowledge or information sufficient to

form a belief as to the truth thereof, and puts Plaintiff upon strict proof of the same.

                                            72.

        Kuzzins can neither admit nor deny the allegations contained in Paragraph

72 of the Amended Complaint, for want of knowledge or information sufficient to

form a belief as to the truth thereof, and puts Plaintiff upon strict proof of the same.

                                            73.

        Kuzzins can neither admit nor deny the allegations contained in Paragraph

73 of the Amended Complaint, for want of knowledge or information sufficient to

form a belief as to the truth thereof, and puts Plaintiff upon strict proof of the same.

                                    FACTUAL ALLEGATIONS

I.      Sex Trafficking

                                            74.

        Kuzzins can neither admit nor deny the allegations contained in Paragraph

74 of the Amended Complaint, for want of knowledge or information sufficient to

form a belief as to the truth thereof, and puts Plaintiff upon strict proof of the same.

                                            75.

        Kuzzins can neither admit nor deny the allegations contained in Paragraph

75 of the Amended Complaint, for want of knowledge or information sufficient to

form a belief as to the truth thereof, and puts Plaintiff upon strict proof of the same.


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                                            76.

        Kuzzins can neither admit nor deny the allegations contained in Paragraph

76 of the Amended Complaint, for want of knowledge or information sufficient to

form a belief as to the truth thereof, and puts Plaintiff upon strict proof of the same.

                                            77.

        Kuzzins can neither admit nor deny the allegations contained in Paragraph

77 of the Amended Complaint, for want of knowledge or information sufficient to

form a belief as to the truth thereof, and puts Plaintiff upon strict proof of the same.

                                            78.

        Kuzzins can neither admit nor deny the allegations contained in Paragraph

78 of the Amended Complaint, for want of knowledge or information sufficient to

form a belief as to the truth thereof, and puts Plaintiff upon strict proof of the same.

II.     Metro Atlanta Had Long Been Known As A Sex Trafficking Hub

                                            79.

        Kuzzins can neither admit nor deny the allegations contained in Paragraph

79 of the Amended Complaint, for want of knowledge or information sufficient to

form a belief as to the truth thereof, and puts Plaintiff upon strict proof of the same.

                                            80.

        Kuzzins can neither admit nor deny the allegations contained in Paragraph

80 of the Amended Complaint, for want of knowledge or information sufficient to


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form a belief as to the truth thereof, and puts Plaintiff upon strict proof of the same.

                                            81.

        Kuzzins denies the allegations contained in Paragraph 81 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 81 of the Amended Complaint, for want of knowledge or information

sufficient to form a belief as to the truth thereof, and puts Plaintiff upon strict proof

of the same.

III.    Hotels Are Complicit In Sex Trafficking

                                            82.

        Kuzzins denies the allegations contained in Paragraph 82 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 82 of the Amended Complaint, for want of knowledge or information

sufficient to form a belief as to the truth thereof, and puts Plaintiff upon strict proof

of the same.

        A.       Hotels Are a Critical Part of the Sex Trafficking Industry

                                            83.

        Kuzzins can neither admit nor deny the allegations contained in Paragraph

83 of the Amended Complaint, for want of knowledge or information sufficient to


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form a belief as to the truth thereof, and puts Plaintiff upon strict proof of the same.

                                            84.

        Kuzzins can neither admit nor deny the allegations contained in Paragraph

84 of the Amended Complaint, for want of knowledge or information sufficient to

form a belief as to the truth thereof, and puts Plaintiff upon strict proof of the same.

                                            85.

        Kuzzins can neither admit nor deny the allegations contained in Paragraph

85 of the Amended Complaint, for want of knowledge or information sufficient to

form a belief as to the truth thereof, and puts Plaintiff upon strict proof of the same.

                                            86.

        Kuzzins denies the allegations contained in Paragraph 86 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 86 of the Amended Complaint, for want of knowledge or information

sufficient to form a belief as to the truth thereof, and puts Plaintiff upon strict proof

of the same.

                                            87.

        Kuzzins denies the allegations contained in Paragraph 87 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained


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in Paragraph 87 of the Amended Complaint, for want of knowledge or information

sufficient to form a belief as to the truth thereof, and puts Plaintiff upon strict proof

of the same.

        B.       The Presence of Sex Trafficking and Measures to Prevent It Have
                 Been Known in the Hotel Industry for Decades

                                            88.

        Kuzzins can neither admit nor deny the allegations contained in Paragraph

88 of the Amended Complaint, for want of knowledge or information sufficient to

form a belief as to the truth thereof, and puts Plaintiff upon strict proof of the same.

                                            89.

        Kuzzins can neither admit nor deny the allegations contained in Paragraph

89 of the Amended Complaint, for want of knowledge or information sufficient to

form a belief as to the truth thereof, and puts Plaintiff upon strict proof of the same.

                                            90.

        Kuzzins can neither admit nor deny the allegations contained in Paragraph

90 of the Amended Complaint, for want of knowledge or information sufficient to

form a belief as to the truth thereof, and puts Plaintiff upon strict proof of the same.

                                            91.

        Kuzzins can neither admit nor deny the allegations and all subparts

contained in Paragraph 91 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff

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upon strict proof of the same.

                                            92.

        Kuzzins denies the allegations contained in Paragraph 92 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 92 of the Amended Complaint, for want of knowledge or information

sufficient to form a belief as to the truth thereof, and puts Plaintiff upon strict proof

of the same.

        C.       Defendants Chose to Ignore or Participate in Sex Trafficking
                 Rather than take Steps to Prevent It

                                            93.

        Kuzzins denies the allegations contained in Paragraph 93 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 93 of the Amended Complaint, for want of knowledge or information

sufficient to form a belief as to the truth thereof, and puts Plaintiff upon strict proof

of the same.

                                            94.

        Kuzzins denies the allegations contained in Paragraph 94 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

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in Paragraph 94 of the Amended Complaint, for want of knowledge or information

sufficient to form a belief as to the truth thereof, and puts Plaintiff upon strict proof

of the same.

                                            95.

        Kuzzins denies the allegations contained in Paragraph 95 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 95 of the Amended Complaint, for want of knowledge or information

sufficient to form a belief as to the truth thereof, and puts Plaintiff upon strict proof

of the same.

                                            96.

        The allegations contained in paragraph 96 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 96 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            97.

        The allegations contained in paragraph 97 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 97 of the Amended Complaint, for want of


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knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            98.

        The allegations contained in paragraph 98 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 98 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            99.

        The allegations contained in paragraph 99 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 99 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                           100.

        The allegations contained in paragraph 100 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 100 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.


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                                           101.

        The allegations contained in paragraph 101 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 101 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

IV.     The Defendants Participated In the Sex Trafficking Of Jane Doe 1

                                           102.

        Kuzzins denies the allegations contained in Paragraph 102 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 102 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff

upon strict proof of the same.

                                           103.

        Kuzzins denies the allegations contained in Paragraph 103 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 103 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff


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upon strict proof of the same.

                                           104.

        Kuzzins denies the allegations contained in Paragraph 104 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 104 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff

upon strict proof of the same.

                                           105.

        Kuzzins denies the allegations contained in Paragraph 105 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 105 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff

upon strict proof of the same.

                                           106.

        Kuzzins denies the allegations contained in Paragraph 106 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 106 of the Amended Complaint, for want of knowledge or


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information sufficient to form a belief as to the truth thereof, and puts Plaintiff

upon strict proof of the same.

        A.       The Red Roof (Smyrna) Defendants Participated in a Sex
                 Trafficking Venture Whose Victims Included Jane Doe 1, and
                 They Knew of Should Have Known They Were Benefitting
                 Financially From Such a Venture

                                           107.

        The allegations contained in paragraph 107 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 107 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                           108.

        The allegations contained in paragraph 108 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 108 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                           109.

        The allegations contained in paragraph 109 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 109 of the Amended Complaint, for want of

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knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                              110.

        The allegations contained in paragraph 110 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 110 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                 ii.      Red Roof (Smyrna) management and employees knew of and
                          facilitated the sex trafficking venture at that hotel, and they
                          specifically facilitated the trafficking of Jane Doe 1

                                              111.

        The allegations contained in paragraph 111 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations and contained in Paragraph 111 of the Amended Complaint, for

want of knowledge or information sufficient to form a belief as to the truth thereof,

and puts Plaintiff upon strict proof of the same.

                                              112.

        The allegations contained in paragraph 112 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 112 of the Amended Complaint, for want of


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knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                           113.

        The allegations contained in paragraph 113 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 113 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                           114.

        The allegations and all subparts contained in paragraph 114 of the Amended

Complaint are not directed at Kuzzins. In further responding, Kuzzins can neither

admit nor deny the allegations and all subparts contained in Paragraph 114 of the

Amended Complaint, for want of knowledge or information sufficient to form a

belief as to the truth thereof, and puts Plaintiff upon strict proof of the same.

                                           115.

        The allegations and all subparts contained in paragraph 115 of the Amended

Complaint are not directed at Kuzzins. In further responding, Kuzzins can neither

admit nor deny the allegations and all subparts contained in Paragraph 115 of the

Amended Complaint, for want of knowledge or information sufficient to form a

belief as to the truth thereof, and puts Plaintiff upon strict proof of the same.


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                                           116.

        The allegations contained in paragraph 116 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 116 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                           117.

        The allegations contained in paragraph 117 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 117 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                           118.

        The allegations contained in paragraph 118 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 118 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                           119.

        The allegations contained in paragraph 119 of the Amended Complaint are


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not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 119 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                           120.

        The allegations contained in paragraph 120 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 120 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                           121.

        The allegations contained in paragraph 121 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 121 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                           122.

        The allegations contained in paragraph 122 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 122 of the Amended Complaint, for want of


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knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                             123.

        The allegations contained in paragraph 123 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 123 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                 iii.     Red Roof Defendants knew of, or should have known of, the
                          sex trafficking venture at the Red Roof (Smyrna)

                                             124.

        The allegations contained in paragraph 124 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 124 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                             125.

        The allegations contained in paragraph 125 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 125 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

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puts Plaintiff upon strict proof of the same.

                                           126.

        The allegations contained in paragraph 126 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 126 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                           127.

        The allegations contained in paragraph 127 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 127 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                           128.

        The allegations contained in paragraph 128 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 128 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.




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                          a.       Publicly available online reviews confirm the Red Roof
                                   Defendants knew, or should have known, of the sex
                                   trafficking venture and other criminal activity at the Red
                                   Roof (Smyrna)

                                                 129.

        The allegations and all subparts contained in paragraph 129 of the Amended

Complaint are not directed at Kuzzins. In further responding, Kuzzins can neither

admit nor deny the allegations and all subparts contained in Paragraph 129 of the

Amended Complaint, for want of knowledge or information sufficient to form a

belief as to the truth thereof, and puts Plaintiff upon strict proof of the same.

                                                 130.

        The allegations and contained in paragraph 130 of the Amended Complaint

are not directed at Kuzzins. In further responding, Kuzzins can neither admit nor

deny the allegations contained in Paragraph 130 of the Amended Complaint, for

want of knowledge or information sufficient to form a belief as to the truth thereof,

and puts Plaintiff upon strict proof of the same.

                                                 131.

        The allegations and contained in paragraph 131 of the Amended Complaint

are not directed at Kuzzins. In further responding, Kuzzins can neither admit nor

deny the allegations contained in Paragraph 131 of the Amended Complaint, for

want of knowledge or information sufficient to form a belief as to the truth thereof,

and puts Plaintiff upon strict proof of the same.

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                                           132.

        The allegations and all subparts contained in paragraph 132 of the Amended

Complaint are not directed at Kuzzins. In further responding, Kuzzins can neither

admit nor deny the allegations and all subparts contained in Paragraph 132 of the

Amended Complaint, for want of knowledge or information sufficient to form a

belief as to the truth thereof, and puts Plaintiff upon strict proof of the same.

                                           133.

        The allegations and all subparts contained in paragraph 133 of the Amended

Complaint are not directed at Kuzzins. In further responding, Kuzzins can neither

admit nor deny the allegations and all subparts contained in Paragraph 133 of the

Amended Complaint, for want of knowledge or information sufficient to form a

belief as to the truth thereof, and puts Plaintiff upon strict proof of the same.

                                           134.

        The allegations contained in paragraph 134 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 134 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                           135.

        The allegations contained in paragraph 135 of the Amended Complaint are


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not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 135 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                           136.

        The allegations contained in paragraph 136 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 136 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                           137.

        The allegations contained in paragraph 137 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 137 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                           138.

        The allegations contained in paragraph 138 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 138 of the Amended Complaint, for want of


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knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                                139.

        The allegations contained in paragraph 139 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 139 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                                140.

        The allegations contained in paragraph 140 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 140 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                          b.       Law enforcement activity at the Red Roof (Smyrna)
                                   demonstrated the Red Roof Defendants knew, or should
                                   have known, of the sex trafficking venture at that hotel

                                                141.

        The allegations and all subparts contained in paragraph 141 of the Amended

Complaint are not directed at Kuzzins. In further responding, Kuzzins can neither

admit nor deny the allegations and all subparts contained in Paragraph 141 of the


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Amended Complaint, for want of knowledge or information sufficient to form a

belief as to the truth thereof, and puts Plaintiff upon strict proof of the same.

                                                142.

        The allegations contained in paragraph 142 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 142 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                          c.       The sex trafficking venture at the Red Roof (Smyrna) was
                                   otherwise open and obvious

                                                143.

        The allegations contained in paragraph 143 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 143 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                                144.

        The allegations contained in paragraph 144 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 144 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

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puts Plaintiff upon strict proof of the same.

                                           145.

        The allegations contained in paragraph 145 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 145 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                           146.

        The allegations contained in paragraph 146 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 146 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                           147.

        The allegations and all subparts contained in paragraph 147 of the Amended

Complaint are not directed at Kuzzins. In further responding, Kuzzins can neither

admit nor deny the allegations and all subparts contained in Paragraph 147 of the

Amended Complaint, for want of knowledge or information sufficient to form a

belief as to the truth thereof, and puts Plaintiff upon strict proof of the same.




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                                           148.

        The allegations contained in paragraph 148 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 148 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                           149.

        The allegations and all subparts contained in paragraph 149 of the Amended

Complaint are not directed at Kuzzins. In further responding, Kuzzins can neither

admit nor deny the allegations and all subparts contained in Paragraph 149 of the

Amended Complaint, for want of knowledge or information sufficient to form a

belief as to the truth thereof, and puts Plaintiff upon strict proof of the same.

                                           150.

        The allegations and contained in paragraph 150 of the Amended Complaint

are not directed at Kuzzins. In further responding, Kuzzins can neither admit nor

deny the allegations contained in Paragraph 150 of the Amended Complaint, for

want of knowledge or information sufficient to form a belief as to the truth thereof,

and puts Plaintiff upon strict proof of the same.

                                           151.

        The allegations contained in paragraph 151 of the Amended Complaint are


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not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 151 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                           152.

        The allegations contained in paragraph 152 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 152 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                           153.

        The allegations contained in paragraph 153 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 153 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                           154.

        The allegations contained in paragraph 154 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 154 of the Amended Complaint, for want of


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knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                             155.

        The allegations contained in paragraph 155 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 155 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                             156.

        The allegations contained in paragraph 156 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 156 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

        B.       The Red Roof (Atlanta) Defendants Participated in a Sex
                 Trafficking Venture Whose Victims Included Jane Doe 1, and
                 They Knew or Should Have Known They Were Benefitting
                 Financially From Such a Venture

                 i.       The Red Roof (Atlanta) Sex Trafficking Venture

                                             157.

        The allegations contained in paragraph 157 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

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the allegations contained in Paragraph 157 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                           158.

        The allegations contained in paragraph 158 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 158 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                           159.

        The allegations contained in paragraph 159 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 159 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                           160.

        The allegations contained in paragraph 160 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 160 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and


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puts Plaintiff upon strict proof of the same.

                 ii.      Red Roof (Atlanta) management and employees knew of and
                          facilitated the sex trafficking venture at that hotel, and they
                          specifically facilitated the trafficking of Jane Doe 1

                                              161.

        The allegations contained in paragraph 161 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 161 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                              162.

        The allegations contained in paragraph 162 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 162 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                              163.

        The allegations contained in paragraph 163 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 163 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and


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puts Plaintiff upon strict proof of the same.

                                              164.

        The allegations contained in paragraph 164 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 164 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                              165.

        The allegations contained in paragraph 165 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 165 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                              166.

        The allegations contained in paragraph 166 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 166 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                 iii.     The Red Roof (Atlanta) Defendants knew of, or should have
                          known of, the sex trafficking venture at the Red Roof (Atlanta)

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                                           167.

        The allegations contained in paragraph 167 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 167 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                           168.

        The allegations contained in paragraph 168 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 168 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                           169.

        The allegations and all subparts contained in paragraph 169 of the Amended

Complaint are not directed at Kuzzins. In further responding, Kuzzins can neither

admit nor deny the allegations and all subparts contained in Paragraph 169 of the

Amended Complaint, for want of knowledge or information sufficient to form a

belief as to the truth thereof, and puts Plaintiff upon strict proof of the same.

                                           170.

        The allegations contained in paragraph 170 of the Amended Complaint are

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not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 170 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            171.

        The allegations contained in paragraph 171 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 171 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

        C.       The Suburban Extended Stay Defendants Participated in a Sex
                 Trafficking Venture Whose Victims Included Jane Doe 1, and
                 They Knew or Should Have Known They Were Benefitting
                 Financially From Such a Venture

                 i.       The Suburban Extended Stay (Chamblee) Sex Trafficking
                          Venture

                                            172.

        The allegations contained in paragraph 172 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 172 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.


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                                              173.

        The allegations contained in paragraph 173 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 173 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                              174.

        The allegations contained in paragraph 174 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 174 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                             175.

        The allegations contained in paragraph 175 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 175 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                 ii.      Suburban Extended Stay (Chamblee) management and
                          employees knew of and facilitated the sex trafficking venture at
                          that hotel, and they specifically facilitated the trafficking of
                          Jane Doe 1

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                                           176.

        The allegations contained in paragraph 176 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 176 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                           177.

        The allegations contained in paragraph 177 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 177 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                           178.

        The allegations contained in paragraph 178 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 178 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                           179.

        The allegations contained in paragraph 179 of the Amended Complaint are


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not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 179 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                           180.

        The allegations contained in paragraph 180 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 180 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                           181.

        The allegations contained in paragraph 181 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 181 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                           182.

        The allegations contained in paragraph 182 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 182 of the Amended Complaint, for want of


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knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                           183.

        The allegations contained in paragraph 183 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 183 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                           184.

        The allegations contained in paragraph 184 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 184 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                           185.

        The allegations contained in paragraph 185 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 185 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.


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                                             186.

        The allegations contained in paragraph 186 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 186 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                             187.

        The allegations contained in paragraph 187 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 187 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                 iii.     The Suburban Extended Stay Defendants knew of, or should
                          have known of, the sex trafficking venture at the Suburban
                          Extended Stay (Chamblee)

                                             188.

        The allegations contained in paragraph 188 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 188 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.


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                                                 189.

        The allegations contained in paragraph 189 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 189 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                          a.       Publicly available online reviews confirm Suburban
                                   Extended Stay Defendants knew, or should have known,
                                   of the sex trafficking venture and other criminal activity
                                   at the Suburban Extended Stay (Chamblee)

                                                 190.

        The allegations contained in paragraph 190 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 190 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                                 191.

        The allegations and all subparts contained in paragraph 191 of the Amended

Complaint are not directed at Kuzzins. In further responding, Kuzzins can neither

admit nor deny the allegations contained in Paragraph 191 of the Amended

Complaint, for want of knowledge or information sufficient to form a belief as to

the truth thereof, and puts Plaintiff upon strict proof of the same.

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                                           192.

        The allegations contained in paragraph 192 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 192 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                           193.

        The allegations contained in paragraph 193 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 193 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                           194.

        The allegations contained in paragraph 194 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 194 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                           195.

        The allegations contained in paragraph 195 of the Amended Complaint are


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not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 195 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                          b.       Law enforcement activity at the Suburban Extended Stay
                                   (Chamblee) demonstrates the Suburban Extended Stay
                                   Defendants knew, or should have known, of the sex
                                   trafficking venture at that hotel

                                                196.

        The allegations contained in paragraph 196 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 196 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                                197.

        The allegations and all subparts contained in paragraph 197 of the Amended

Complaint are not directed at Kuzzins. In further responding, Kuzzins can neither

admit nor deny the allegations and all subparts contained in Paragraph 197 of the

Amended Complaint, for want of knowledge or information sufficient to form a

belief as to the truth thereof, and puts Plaintiff upon strict proof of the same.

                          c.       The sex trafficking venture at the Suburban Extended
                                   Stay (Chamblee) was otherwise open and obvious


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                                               198.

        The allegations contained in paragraph 198 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 198 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

        D.       The Microtel Defendants Participated in a Sex Trafficking
                 Venture Whose Victims Included Jane Doe 1, and They Knew or
                 Should Have Known They Were Benefitting Financially From
                 Such a Venture

                        i.       The Microtel (Atlanta) Sex Trafficking Venture

                                               199.

        Kuzzins denies the allegations contained in Paragraph 199 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 199 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff

upon strict proof of the same.

                                               200.

        Kuzzins denies the allegations contained in Paragraph 200 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

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in Paragraph 200 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff

upon strict proof of the same.

                                               201.

        Kuzzins denies the allegations contained in Paragraph 201 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 201 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff

upon strict proof of the same.

                                               202.

        Kuzzins denies the allegations contained in Paragraph 202 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 202 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff

upon strict proof of the same.

                 ii.      Microtel (Atlanta) management and employees knew or and
                          facilitated the sex trafficking venture at that hotel, and they
                          specifically facilitated the trafficking of Jane Doe 1




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                                                    203.

        Kuzzins denies the allegations contained in Paragraph 203 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 203 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff

upon strict proof of the same.

                                           204.

        Kuzzins denies the allegations contained in Paragraph 204 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 204 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff

upon strict proof of the same.

                                           205.

        Kuzzins denies the allegations contained in Paragraph 205 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 205 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff


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upon strict proof of the same.

                                           206.

        Kuzzins denies the allegations contained in Paragraph 206 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 206 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff

upon strict proof of the same.

                                           207.

        Kuzzins denies the allegations contained in Paragraph 207 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 207 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff

upon strict proof of the same.

                                           208.

        Kuzzins denies the allegations contained in Paragraph 208 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 208 of the Amended Complaint, for want of knowledge or


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information sufficient to form a belief as to the truth thereof, and puts Plaintiff

upon strict proof of the same.

                                           209.

        Kuzzins denies the allegations contained in Paragraph 209 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 209 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff

upon strict proof of the same.

                                           210.

         Kuzzins denies the allegations contained in Paragraph 210 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 210 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff

upon strict proof of the same.

                                           211.

        Kuzzins denies the allegations contained in Paragraph 211 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained


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in Paragraph 211 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff

upon strict proof of the same.

                                           212.

        Kuzzins denies the allegations contained in Paragraph 212 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 212 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff

upon strict proof of the same.

                                           213.

        Kuzzins denies the allegations contained in Paragraph 213 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 213 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff

upon strict proof of the same.

                                           214.

        Kuzzins denies the allegations contained in Paragraph 214 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.


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Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 214 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff

upon strict proof of the same.

                                           215.

        Kuzzins denies the allegations contained in Paragraph 215 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 215 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff

upon strict proof of the same.

                                           216.

        Kuzzins denies the allegations contained in Paragraph 216 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 216 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff

upon strict proof of the same.

                                           217.

        Kuzzins denies the allegations contained in Paragraph 217 of the Amended


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Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 217 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff

upon strict proof of the same.

                                           218.

        Kuzzins denies the allegations contained in Paragraph 218 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 218 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff

upon strict proof of the same.

                                           219.

        Kuzzins denies the allegations contained in Paragraph 219 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 219 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff

upon strict proof of the same.




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                                             220.

        Kuzzins denies the allegations contained in Paragraph 220 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 220 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff

upon strict proof of the same.

                 iii.     The Microtel Defendant knew of, or should have known of,
                          the sex trafficking venture at the Microtel (Atlanta)

                                             221.

        The allegations contained in paragraph 221 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 221 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                             222.

        The allegations contained in paragraph 222 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 222 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

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                                           223.

        Kuzzins denies the allegations and all subparts contained in Paragraph 223

of the Amended Complaint to the extent that it implies any wrongdoing on the part

of Kuzzins. Otherwise, Kuzzins can neither admit nor deny the remaining

allegations and subparts contained in Paragraph 223 of the Amended Complaint,

for want of knowledge or information sufficient to form a belief as to the truth

thereof, and puts Plaintiff upon strict proof of the same.

                                           224.

        The allegations contained in paragraph 224 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 224 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                           225.

        The allegations contained in paragraph 225 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 225 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.




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                                           226.

        The allegations contained in paragraph 226 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 226 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

        E.       The Ramada Defendants Participated in a Sex Trafficking
                 Venture Whose Victims Included Jane Doe 1, and They Knew or
                 Should Have Known They Were Benefitting Financially From
                 Such a Venture.

                      i. The Ramada (Alpharetta) Sex Trafficking Venture

                                           227.

        The allegations contained in paragraph 227 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 227 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                           228.

        The allegations contained in paragraph 228 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 228 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

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puts Plaintiff upon strict proof of the same.

                                              229.

        The allegations contained in paragraph 229 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 229 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                              230.

        The allegations contained in paragraph 230 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 230 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                     ii. The Ramada (Alpharetta) management and employees knew of
                         and facilitated the sex trafficking venture at that hotel, and they
                         specifically facilitated the trafficking of Jane Doe 1

                                              231.

        The allegations contained in paragraph 231 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 231 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and


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puts Plaintiff upon strict proof of the same.

                                           232.

        The allegations contained in paragraph 232 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 232 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                           233.

        The allegations contained in paragraph 233 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 233 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                           234.

        The allegations contained in paragraph 234 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 234 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.




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                                           235.

        The allegations contained in paragraph 235 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 235 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                           236.

        The allegations contained in paragraph 236 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 236 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                           237.

        The allegations contained in paragraph 237 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 237 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                           238.

        The allegations contained in paragraph 238 of the Amended Complaint are


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not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 238 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                           239.

        The allegations contained in paragraph 239 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 239 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                           240.

        The allegations contained in paragraph 240 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 240 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                    iii. The Ramada Defendants Knew of, or should have known of,
                         the sex trafficking venture at the Ramada (Alpharetta)

                                           241.

        The allegations contained in paragraph 241 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

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the allegations contained in Paragraph 241 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                           242.

        The allegations contained in paragraph 242 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 242 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                           243.

        The allegations contained in paragraph 243 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 243 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                           244.

        Kuzzins denies the allegations and all subparts contained in Paragraph 244

of the Amended Complaint to the extent that it implies any wrongdoing on the part

of Kuzzins. Otherwise, Kuzzins can neither admit nor deny the remaining

allegations and subparts contained in Paragraph 244 of the Amended Complaint,


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for want of knowledge or information sufficient to form a belief as to the truth

thereof, and puts Plaintiff upon strict proof of the same.

                                           245.

        The allegations contained in paragraph 245 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 245 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                           246.

        The allegations contained in paragraph 246 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 246 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                           247.

        The allegations contained in paragraph 247 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 247 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.


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                                            248.

        The allegations contained in paragraph 248 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 248 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            249.

        The allegations contained in paragraph 249 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 249 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

        F.       The La Quinta Defendants Participated in a Sex Trafficking
                 Venture Whose Victims Included Jane Doe 1, and They Knew or
                 Should Have Known They Were Benefitting Financially From
                 Such a Venture

                      i. The La Quinta (Alpharetta) Sex Trafficking Venture

                                            250.

        The allegations contained in paragraph 250 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 250 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

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puts Plaintiff upon strict proof of the same.

                                              251.

        The allegations contained in paragraph 251 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 251 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                              252.

        The allegations contained in paragraph 252 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 252 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                              253.

        The allegations contained in paragraph 253 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 253 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                     ii. La Quinta (Alpharetta) management and employees knew of
                         and facilitated the sex trafficking venture at that hotel and they

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                          specifically facilitated the trafficking of Jane Doe 1

                                               254.

        The allegations contained in paragraph 254 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 254 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                               255.

        The allegations contained in paragraph 255 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 255 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                               256.

        The allegations contained in paragraph 256 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 256 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.




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                                           257.

        The allegations contained in paragraph 257 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 257 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                           258.

        The allegations contained in paragraph 258 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 258 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                           259.

        The allegations contained in paragraph 259 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 259 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                           260.

        The allegations contained in paragraph 260 of the Amended Complaint are


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not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 260 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                           261.

        The allegations contained in paragraph 261 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 261 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                    iii. The La Quinta Defendants knew of, or should have known of,
                         the sex trafficking venture at the La Quinta (Alpharetta)

                                           262.

        The allegations contained in paragraph 262 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 262 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                           262.

        The allegations contained in paragraph 262 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

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the allegations contained in Paragraph 262 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                           263.

        The allegations contained in paragraph 263 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 263 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                           264.

        The allegations contained in paragraph 264 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 264 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                           265.

        Kuzzins denies the allegations and all subparts contained in Paragraph 265

of the Amended Complaint to the extent that it implies any wrongdoing on the part

of Kuzzins. Otherwise, Kuzzins can neither admit nor deny the remaining

allegations and subparts contained in Paragraph 265 of the Amended Complaint,


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for want of knowledge or information sufficient to form a belief as to the truth

thereof, and puts Plaintiff upon strict proof of the same.

                                           266.

        The allegations contained in paragraph 266 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 266 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                           267.

        The allegations contained in paragraph 267 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 267 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                           268.

        The allegations contained in paragraph 268 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 268 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.


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        G.       The Americas Best Defendants Participated in a Sex Trafficking
                 Venture Whose Victims Included Jane Doe 1, and They Knew or
                 Should Have Known They Were Benefitting Financially From
                 Such a Venture

                      i. The Americas Best (Atlanta) Sex Trafficking Venture

                                            269.

        The allegations contained in paragraph 269 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 269 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            270.

        The allegations contained in paragraph 270 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 270 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            271.

        The allegations contained in paragraph 271 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 271 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

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puts Plaintiff upon strict proof of the same.

                                              272.

        The allegations contained in paragraph 272 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 272 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                     ii. Americas Best (Atlanta) management and employees knew of
                         and facilitated the sex trafficking venture at that hotel and they
                         specifically facilitated the trafficking of Jane Doe 1

                                              273.

        The allegations contained in paragraph 273 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 273 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                              274.

        The allegations contained in paragraph 274 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 274 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and


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puts Plaintiff upon strict proof of the same.

                                           275.

        The allegations contained in paragraph 275 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 275 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                           276.

        The allegations contained in paragraph 276 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 276 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                           277.

        The allegations contained in paragraph 277 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 277 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.




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                                            278.

        The allegations contained in paragraph 278 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 278 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            279.

        The allegations contained in paragraph 279 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 279 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            280.

        The allegations contained in paragraph 280 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 280 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                    iii. The Americas Best Defendants knew of, or should have known
                         of, the sex trafficking venture at the Americas Best (Atlanta)




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                                                281.

        The allegations contained in paragraph 281 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 281 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                                282.

        The allegations contained in paragraph 282 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 282 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                          a.       Vantage controls its hotels and undertakes the
                                   responsibility of training employees and owners of
                                   Americas Best (Atlanta), inspecting its hotels and
                                   monitoring criminal activity at Americas Best

                                                283.

        The allegations contained in paragraph 283 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 283 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

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                                           284.

        The allegations contained in paragraph 284 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 284 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                           285.

        The allegations contained in paragraph 285 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 285 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                           286.

        The allegations contained in paragraph 286 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 286 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                           287.

        The allegations contained in paragraph 287 of the Amended Complaint are


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not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 287 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                           288.

        The allegations contained in paragraph 288 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 288 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                           289.

        The allegations contained in paragraph 289 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 289 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                           290.

        The allegations contained in paragraph 290 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 290 of the Amended Complaint, for want of


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knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                           291.

        The allegations contained in paragraph 291 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 291 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                           289.

        The allegations contained in paragraph 289 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 289 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                           290.

        The allegations contained in paragraph 290 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 290 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.


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                                            291.

        The allegations contained in paragraph 291 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 291 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            292.

        The allegations contained in paragraph 292 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 292 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            293.

        The allegations contained in paragraph 293 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 293 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            294.

        The allegations contained in paragraph 294 of the Amended Complaint are


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not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 294 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            295.

        The allegations contained in paragraph 295 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 295 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            296.

        The allegations contained in paragraph 296 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 296 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            297.

        The allegations contained in paragraph 297 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 297 of the Amended Complaint, for want of


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knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            298.

        The allegations contained in paragraph 298 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 298 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            299.

        The allegations contained in paragraph 299 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 299 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            300.

        The allegations contained in paragraph 300 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 300 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.


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                                                301.

        The allegations contained in paragraph 301 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 301 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                          b.       Publicly available online reviews confirm Americas Best
                                   Defendants knew, or should have known, of the sex
                                   trafficking venture and other criminal activity at
                                   Americas Best (Atlanta)

                                                302.

        The allegations contained in paragraph 302 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 302 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                                303.

        Kuzzins denies the allegations and all subparts contained in Paragraph 303

of the Amended Complaint to the extent that it implies any wrongdoing on the part

of Kuzzins. Otherwise, Kuzzins can neither admit nor deny the remaining

allegations and subparts contained in Paragraph 303 of the Amended Complaint,

for want of knowledge or information sufficient to form a belief as to the truth

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thereof, and puts Plaintiff upon strict proof of the same.

                                            304.

        The allegations contained in paragraph 304 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 304 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            305.

        The allegations contained in paragraph 305 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 305 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            306.

        The allegations contained in paragraph 306 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 306 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.




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        H.       The Hampton Inn (NDH Atlanta) Defendants Participated
                 in a Sex Trafficking Venture Whose Victims Included Jane
                 Doe 1, and They Knew or Should Have Known They Were
                 Benefitting Financially From Such a Venture

                 i.       The Hampton Inn (NDH Atlanta) Sex Trafficking Venture

                                            307.

        The allegations contained in paragraph 307 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 307 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            308.

        The allegations contained in paragraph 308 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 308 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            309.

        The allegations contained in paragraph 309 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 309 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

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puts Plaintiff upon strict proof of the same.

                                               310.

        The allegations contained in paragraph 310 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 310 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                 ii.      Hampton Inn (NDH Atlanta) management and employees
                          knew of and facilitated the sex trafficking venture at that
                          hotel, and they specifically facilitated the trafficking of Jane
                          Doe 1
                                               311.

        The allegations contained in paragraph 311 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 311 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                               312.

        The allegations contained in paragraph 312 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 312 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and


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puts Plaintiff upon strict proof of the same.

                                            313.

        The allegations contained in paragraph 313 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 313 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            314.

        The allegations contained in paragraph 314 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 314 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            315.

        The allegations contained in paragraph 315 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 315 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.




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                                            316.

        The allegations contained in paragraph 316 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 316 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            317.

        The allegations contained in paragraph 317 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 317 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            318.

        The allegations contained in paragraph 318 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 318 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            319.

        The allegations contained in paragraph 319 of the Amended Complaint are


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not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 319 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                 iii.     The Hampton Inn (NDH Atlanta) Defendants knew of, or
                          should have known of, the sex trafficking venture at the
                          Hampton Inn (NDH Atlanta)

                                             320.

        The allegations contained in paragraph 320 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 320 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                             321.

        The allegations contained in paragraph 321 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 321 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                             322.

        The allegations contained in paragraph 322 of the Amended Complaint are


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not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 322 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            323.

        The allegations contained in paragraph 323 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 323 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            324.

        The allegations contained in paragraph 324 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 324 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            325.

        The allegations contained in paragraph 325 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 325 of the Amended Complaint, for want of


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knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            326.

        The allegations contained in paragraph 326 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 326 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                              PLAINTIFF’S CLAIMS
             Trafficking Victims Protection Reauthorization Act Claims
                       (Allegations Common to Counts 1 - 24)

                                            327.

        Kuzzins can neither admit nor deny the allegations contained in Paragraph

327 of the Amended Complaint, for want of knowledge or information sufficient to

form a belief as to the truth thereof, and puts Plaintiff upon strict proof of the same.

                                            328.

        Kuzzins denies the allegations contained in Paragraph 328 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 328 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff


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upon strict proof of the same.

                                            329.

        Kuzzins denies the allegations contained in Paragraph 329 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 329 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff

upon strict proof of the same.

                                            330.

        Kuzzins can neither admit nor deny the allegations contained in Paragraph

330 of the Amended Complaint, for want of knowledge or information sufficient to

form a belief as to the truth thereof, and puts Plaintiff upon strict proof of the same.

                                            331.

        Kuzzins denies the allegations contained in Paragraph 331 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 331 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff

upon strict proof of the same.




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                                            332.

        Kuzzins denies the allegations contained in Paragraph 332 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 332 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff

upon strict proof of the same.

                                  COUNT ONE
       Trafficking Victim Protection Reauthorization Act – Sex Trafficking
                               Perpetrator Claim
                         18 U.S.C. §§ 1591(a)(1), 1595(a)
                    (Against Red Roof (Smyrna) Defendants)

                                            333.

        In response to the allegations contained in Paragraph 333 of the Plaintiff’s

Amended Complaint, Kuzzins incorporates the responses to Paragraphs 1 through

332 above, as if restated in full and set forth specifically herein.

                                            334.

        The allegations contained in paragraph 334 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 334 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.


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                                            335.

        The allegations contained in paragraph 335 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 335 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            336.

        The allegations contained in paragraph 336 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 336 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            337.

        The allegations contained in paragraph 337 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 337 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            338.

        The allegations contained in paragraph 338 of the Amended Complaint are


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not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 338 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            339.

        The allegations contained in paragraph 339 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 339 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            340.

        Kuzzins denies the allegations contained in Paragraph 340 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 340 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff

upon strict proof of the same.

                                 COUNT TWO
       Trafficking Victim Protection Reauthorization Act – Sex Trafficking
                    Perpetrator Financial Beneficiary Claim
                         18 U.S.C. §§ 1591(a)(2), 1595(a)
                    (Against Red Roof (Smyrna) Defendants)


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                                            341.

        In response to the allegations contained in Paragraph 341 of the Plaintiff’s

Amended Complaint, Kuzzins incorporates the responses to Paragraphs 1 through

340 above, as if restated in full and set forth specifically herein.

                                            342.

        The allegations contained in paragraph 342 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 342 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            343.

        The allegations contained in paragraph 343 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 343 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            344.

        The allegations contained in paragraph 344 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 344 of the Amended Complaint, for want of


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knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            345.

        The allegations contained in paragraph 345 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 345 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            346.

        The allegations contained in paragraph 346 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 346 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            347.

        The allegations contained in paragraph 347 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 347 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.


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                                            348.

        The allegations contained in paragraph 348 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 348 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            349.

        Kuzzins denies the allegations contained in Paragraph 349 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 349 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff

upon strict proof of the same.

                                COUNT THREE
       Trafficking Victim Protection Reauthorization Act – Sex Trafficking
                      Negligent Financial Beneficiary Claim
                               18 U.S.C. § 1595(a)
                    (Against Red Roof (Smyrna) Defendants)

                                            350.

        In response to the allegations contained in Paragraph 350 of the Plaintiff’s

Amended Complaint, Kuzzins incorporates the responses to Paragraphs 1 through

349 above, as if restated in full and set forth specifically herein.


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                                            351.

        The allegations contained in paragraph 351 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 351 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            352.

        The allegations contained in paragraph 352 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 352 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            353.

        The allegations contained in paragraph 353 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 353 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            354.

        The allegations contained in paragraph 354 of the Amended Complaint are


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not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 354 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            355.

        The allegations contained in paragraph 355 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 355 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            356.

        Kuzzins denies the allegations contained in Paragraph 356 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 356 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff

upon strict proof of the same.

                                            357.

        Kuzzins denies the allegations contained in Paragraph 357 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.


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Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 347 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff

upon strict proof of the same.

                                 COUNT FOUR
       Trafficking Victim Protection Reauthorization Act – Sex Trafficking
                               Perpetrator Claim
                         18 U.S.C. §§ 1591(a)(1), 1595(a)
                    (Against Red Roof (Atlanta) Defendants)

                                            358.

        In response to the allegations contained in Paragraph 358 of the Plaintiff’s

Amended Complaint, Kuzzins incorporates the responses to Paragraphs 1 through

357 above, as if restated in full and set forth specifically herein.

                                            359.

        The allegations contained in paragraph 359 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 359 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            360.

        The allegations contained in paragraph 360 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny


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the allegations contained in Paragraph 360 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            361.

        The allegations contained in paragraph 361 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 361 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            362.

        The allegations contained in paragraph 362 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 362 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            363.

        The allegations contained in paragraph 363 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 363 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and


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puts Plaintiff upon strict proof of the same.

                                            364.

        The allegations contained in paragraph 364 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 364 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            365.

        Kuzzins denies the allegations contained in Paragraph 365 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 365 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff

upon strict proof of the same.

                                  COUNT FIVE
       Trafficking Victim Protection Reauthorization Act – Sex Trafficking
                    Perpetrator Financial Beneficiary Claim
                         18 U.S.C. §§ 1591(a)(2), 1595(a)
                    (Against Red Roof (Atlanta) Defendants)

                                            366.

        In response to the allegations contained in Paragraph 366 of the Plaintiff’s

Amended Complaint, Kuzzins incorporates the responses to Paragraphs 1 through


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365 above, as if restated in full and set forth specifically herein.

                                            367.

        The allegations contained in paragraph 367 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 367 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            368.

        The allegations contained in paragraph 368 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 368 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            369.

        The allegations contained in paragraph 369 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 369 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.




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                                            370.

        The allegations contained in paragraph 370 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 370 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            371.

        The allegations contained in paragraph 371 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 371 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            372.

        The allegations contained in paragraph 372 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 372 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            373.

        The allegations contained in paragraph 373 of the Amended Complaint are


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not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 373 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            374.

        Kuzzins denies the allegations contained in Paragraph 374 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 374 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff

upon strict proof of the same.

                                  COUNT SIX
       Trafficking Victim Protection Reauthorization Act – Sex Trafficking
                      Negligent Financial Beneficiary Claim
                               18 U.S.C. § 1595(a)
                    (Against Red Roof (Atlanta) Defendants)

                                            375.

        In response to the allegations contained in Paragraph 375 of the Plaintiff’s

Amended Complaint, Kuzzins incorporates the responses to Paragraphs 1 through

374 above, as if restated in full and set forth specifically herein.

                                            376.

        The allegations contained in paragraph 376 of the Amended Complaint are


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not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 376 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            377.

        The allegations contained in paragraph 377 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 377 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            378.

        The allegations contained in paragraph 378 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 378 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            379.

        The allegations contained in paragraph 379 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 379 of the Amended Complaint, for want of


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knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            380.

        The allegations contained in paragraph 380 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 380 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            381.

        The allegations contained in paragraph 381 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 381 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            382.

        Kuzzins denies the allegations contained in Paragraph 382 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 382 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff


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upon strict proof of the same.

                                COUNT SEVEN
       Trafficking Victim Protection Reauthorization Act – Sex Trafficking
                               Perpetrator Claim
                         18 U.S.C. §§ 1591(a)(1), 1595(a)
                  (Against Suburban Extended Stay Defendants)

                                            383.

        In response to the allegations contained in Paragraph 383 of the Plaintiff’s

Amended Complaint, Kuzzins incorporates the responses to Paragraphs 1 through

382 above, as if restated in full and set forth specifically herein.

                                            384.

        The allegations contained in paragraph 384 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 384 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            385.

        The allegations contained in paragraph 385 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 385 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.


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                                            386.

        The allegations contained in paragraph 386 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 386 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            387.

        The allegations contained in paragraph 387 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 387 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            388.

        The allegations contained in paragraph 388 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 388 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            389.

        The allegations contained in paragraph 389 of the Amended Complaint are


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not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 389 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            390.

        Kuzzins denies the allegations contained in Paragraph 390 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 390 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff

upon strict proof of the same.

                                COUNT EIGHT
       Trafficking Victim Protection Reauthorization Act – Sex Trafficking
                     Perpetrator Financial Beneficiary Claim
                         18 U.S.C. §§ 1591(a)(2), 1595(a)
                  (Against Suburban Extended Stay Defendants)

                                            391.

        In response to the allegations contained in Paragraph 391 of the Plaintiff’s

Amended Complaint, Kuzzins incorporates the responses to Paragraphs 1 through

390 above, as if restated in full and set forth specifically herein.

                                            392.

        The allegations contained in paragraph 392 of the Amended Complaint are


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not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 392 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            393.

        The allegations contained in paragraph 393 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 393 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            394.

        The allegations contained in paragraph 394 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 394 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            395.

        The allegations contained in paragraph 395 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 395 of the Amended Complaint, for want of


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knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            396.

        The allegations contained in paragraph 396 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 396 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            397.

        The allegations contained in paragraph 397 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 397 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            398.

        The allegations contained in paragraph 398 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 398 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.


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                                            399.

        Kuzzins denies the allegations contained in Paragraph 399 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 399 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff

upon strict proof of the same.

                                 COUNT NINE
       Trafficking Victim Protection Reauthorization Act – Sex Trafficking
                      Negligent Financial Beneficiary Claim
                               18 U.S.C. § 1595(a)
                  (Against Suburban Extended Stay Defendants)

                                            400.

        In response to the allegations contained in Paragraph 400 of the Plaintiff’s

Amended Complaint, Kuzzins incorporates the responses to Paragraphs 1 through

399 above, as if restated in full and set forth specifically herein.

                                            400.

        The allegations contained in paragraph 400 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 400 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.


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                                            401.

        The allegations contained in paragraph 401 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 401 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            402.

        The allegations contained in paragraph 402 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 402 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            403.

        The allegations contained in paragraph 403 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 403 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            404.

        The allegations contained in paragraph 404 of the Amended Complaint are


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not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 404 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            405.

        The allegations contained in paragraph 405 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 405 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            406.

        The allegations contained in paragraph 406 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 406 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            407.

        Kuzzins denies the allegations contained in Paragraph 407 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained


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in Paragraph 407 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff

upon strict proof of the same.

                                  COUNT TEN
       Trafficking Victim Protection Reauthorization Act – Sex Trafficking
                               Perpetrator Claim
                         18 U.S.C. §§ 1591(a)(1), 1595(a)
                         (Against La Quinta Defendants)

                                            408.

        In response to the allegations contained in Paragraph 408 of the Plaintiff’s

Amended Complaint, Kuzzins incorporates the responses to Paragraphs 1 through

407 above, as if restated in full and set forth specifically herein.

                                            409.

        The allegations contained in paragraph 409 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 409 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            410.

        The allegations contained in paragraph 410 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 410 of the Amended Complaint, for want of


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knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            411.

        The allegations contained in paragraph 411 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 411 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            412.

        The allegations contained in paragraph 412 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 412 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            413.

        The allegations contained in paragraph 413 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 413 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.


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                                            414.

        The allegations contained in paragraph 414 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 414 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            415.

        Kuzzins denies the allegations contained in Paragraph 415 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 415 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff

upon strict proof of the same.

                               COUNT ELEVEN
       Trafficking Victim Protection Reauthorization Act – Sex Trafficking
                    Perpetrator Financial Beneficiary Claim
                         18 U.S.C. §§ 1591(a)(2), 1595(a)
                         (Against La Quinta Defendants)

                                            416.

        In response to the allegations contained in Paragraph 416 of the Plaintiff’s

Amended Complaint, Kuzzins incorporates the responses to Paragraphs 1 through

415 above, as if restated in full and set forth specifically herein.


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                                            416.

        The allegations contained in paragraph 416 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 416 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            417.

        The allegations contained in paragraph 417 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 417 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            418.

        The allegations contained in paragraph 418 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 418 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            419.

        The allegations contained in paragraph 419 of the Amended Complaint are


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not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 419 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            420.

        The allegations contained in paragraph 420 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 420 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            421.

        The allegations contained in paragraph 421 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 421 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            422.

        The allegations contained in paragraph 422 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 422 of the Amended Complaint, for want of


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knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            423.

        The allegations contained in paragraph 423 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 423 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            424.

        Kuzzins denies the allegations contained in Paragraph 424 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 424 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff

upon strict proof of the same.

                               COUNT TWELVE
       Trafficking Victim Protection Reauthorization Act – Sex Trafficking
                      Negligent Financial Beneficiary Claim
                               18 U.S.C. § 1595(a)
                         (Against La Quinta Defendants)

                                            425.

        In response to the allegations contained in Paragraph 425 of the Plaintiff’s


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Amended Complaint, Kuzzins incorporates the responses to Paragraphs 1 through

424 above, as if restated in full and set forth specifically herein.

                                            426.

        The allegations contained in paragraph 426 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 426 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            427.

        The allegations contained in paragraph 427 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 427 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            428.

        The allegations contained in paragraph 428 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 428 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.


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                                            429.

        The allegations contained in paragraph 429 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 429 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            430.

        The allegations contained in paragraph 430 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 430 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            431.

        Kuzzins denies the allegations contained in Paragraph 431 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 431 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff

upon strict proof of the same.




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                                            432.

        Kuzzins denies the allegations contained in Paragraph 432 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 432 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff

upon strict proof of the same.

                              COUNT THIRTEEN
       Trafficking Victim Protection Reauthorization Act – Sex Trafficking
                               Perpetrator Claim
                         18 U.S.C. §§ 1591(a)(1), 1595(a)
                          (Against Microtel Defendants)

                                            433.

        In response to the allegations contained in Paragraph 433 of the Plaintiff’s

Amended Complaint, Kuzzins incorporates the responses to Paragraphs 1 through

432 above, as if restated in full and set forth specifically herein.

                                            434.

        Kuzzins denies the allegations contained in Paragraph 434 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 434 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff


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upon strict proof of the same.

                                            435.

        Kuzzins denies the allegations contained in Paragraph 435 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 435 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff

upon strict proof of the same.

                                            436.

        Kuzzins denies the allegations contained in Paragraph 436 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 436 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff

upon strict proof of the same.

                                            437.

        Kuzzins denies the allegations contained in Paragraph 437 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 437 of the Amended Complaint, for want of knowledge or


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information sufficient to form a belief as to the truth thereof, and puts Plaintiff

upon strict proof of the same.

                                            438.

        Kuzzins denies the allegations contained in Paragraph 438 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 438 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff

upon strict proof of the same.

                                            439.

        Kuzzins denies the allegations contained in Paragraph 439 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 439 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff

upon strict proof of the same.

                                            440.

        Kuzzins denies the allegations contained in Paragraph 440 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained


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in Paragraph 440 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff

upon strict proof of the same.

                             COUNT FOURTEEN
       Trafficking Victim Protection Reauthorization Act – Sex Trafficking
                    Perpetrator Financial Beneficiary Claim
                         18 U.S.C. §§ 1591(a)(2), 1595(a)
                          (Against Microtel Defendants)

                                            441.

        In response to the allegations contained in Paragraph 441 of the Plaintiff’s

Amended Complaint, Kuzzins incorporates the responses to Paragraphs 1 through

440 above, as if restated in full and set forth specifically herein.

                                            442.

        Kuzzins denies the allegations contained in Paragraph 442 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 442 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff

upon strict proof of the same.

                                            443.

        Kuzzins denies the allegations contained in Paragraph 443 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.


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Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 443 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff

upon strict proof of the same.

                                            444.

        Kuzzins denies the allegations contained in Paragraph 444 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 444 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff

upon strict proof of the same.

                                            445.

        Kuzzins denies the allegations and all subparts contained in Paragraph 445

of the Amended Complaint to the extent that it implies any wrongdoing on the part

of Kuzzins. Otherwise, Kuzzins can neither admit nor deny the remaining

allegations and all subparts contained in Paragraph 445 of the Amended

Complaint, for want of knowledge or information sufficient to form a belief as to

the truth thereof, and puts Plaintiff upon strict proof of the same.

                                            446.

        Kuzzins denies the allegations contained in Paragraph 446 of the Amended


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Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 446 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff

upon strict proof of the same.

                                            447.

        Kuzzins denies the allegations contained in Paragraph 447 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 447 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff

upon strict proof of the same.

                                            448.

        Kuzzins denies the allegations and contained in Paragraph 448 of the

Amended Complaint to the extent that it implies any wrongdoing on the part of

Kuzzins. Otherwise, Kuzzins can neither admit nor deny the remaining allegations

contained in Paragraph 448 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff

upon strict proof of the same.




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                                            449.

        Kuzzins denies the allegations contained in Paragraph 449 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 449 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff

upon strict proof of the same.

                               COUNT FIFTEEN
       Trafficking Victim Protection Reauthorization Act – Sex Trafficking
                      Negligent Financial Beneficiary Claim
                               18 U.S.C. § 1595(a)
                          (Against Microtel Defendants)

                                            450.

        In response to the allegations contained in Paragraph 450 of the Plaintiff’s

Amended Complaint, Kuzzins incorporates the responses to Paragraphs 1 through

449 above, as if restated in full and set forth specifically herein.

                                            451.

        Kuzzins denies the allegations contained in Paragraph 451 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 451 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff


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upon strict proof of the same.

                                            452.

        Kuzzins denies the allegations contained in Paragraph 452 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 452 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff

upon strict proof of the same.

                                            453.

        Kuzzins denies the allegations contained in Paragraph 453 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 453 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff

upon strict proof of the same.

                                            454.

        Kuzzins denies the allegations contained in Paragraph 454 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 454 of the Amended Complaint, for want of knowledge or


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information sufficient to form a belief as to the truth thereof, and puts Plaintiff

upon strict proof of the same.

                                            455.

        Kuzzins denies the allegations contained in Paragraph 455 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 455 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff

upon strict proof of the same.

                                            456.

        Kuzzins denies the allegations contained in Paragraph 456 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 456 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff

upon strict proof of the same.

                                            457.

        Kuzzins denies the allegations contained in Paragraph 457 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations and


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contained in Paragraph 457 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff

upon strict proof of the same.

                               COUNT SIXTEEN
       Trafficking Victim Protection Reauthorization Act – Sex Trafficking
                               Perpetrator Claim
                         18 U.S.C. §§ 1591(a)(1), 1595(a)
                          (Against Ramada Defendants)

                                            458.

        In response to the allegations contained in Paragraph 458 of the Plaintiff’s

Amended Complaint, Kuzzins incorporates the responses to Paragraphs 1 through

457 above, as if restated in full and set forth specifically herein.

                                            459.

        The allegations contained in paragraph 459 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 459 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            460.

        The allegations contained in paragraph 460 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 460 of the Amended Complaint, for want of


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knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            461.

        The allegations contained in paragraph 461 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 461 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            462.

        The allegations contained in paragraph 462 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 462 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            463.

        The allegations contained in paragraph 463 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 463 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.


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                                            464.

        The allegations contained in paragraph 464 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 464 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            465.

        Kuzzins denies the allegations contained in Paragraph 465 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 465 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff

upon strict proof of the same.

                             COUNT SEVENTEEN
       Trafficking Victim Protection Reauthorization Act – Sex Trafficking
                    Perpetrator Financial Beneficiary Claim
                         18 U.S.C. §§ 1591(a)(2), 1595(a)
                          (Against Ramada Defendants)

                                            466.

        In response to the allegations contained in Paragraph 466 of the Plaintiff’s

Amended Complaint, Kuzzins incorporates the responses to Paragraphs 1 through

465 above, as if restated in full and set forth specifically herein.


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                                            467.

        The allegations contained in paragraph 467 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 467 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            468.

        The allegations contained in paragraph 468 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 468 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            469.

        The allegations contained in paragraph 469 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 469 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            470.

        The allegations contained in paragraph 470 of the Amended Complaint are


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not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 470 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            471.

        The allegations contained in paragraph 471 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 471 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            472.

        The allegations contained in paragraph 472 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 472 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            473.

        The allegations contained in paragraph 473 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 473 of the Amended Complaint, for want of


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knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            474.

        Kuzzins denies the allegations contained in Paragraph 474 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 474 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff

upon strict proof of the same.

                              COUNT EIGHTEEN
       Trafficking Victim Protection Reauthorization Act – Sex Trafficking
                      Negligent Financial Beneficiary Claim
                               18 U.S.C. § 1595(a)
                          (Against Ramada Defendants)

                                            475.

        In response to the allegations contained in Paragraph 475 of the Plaintiff’s

Amended Complaint, Kuzzins incorporates the responses to Paragraphs 1 through

474 above, as if restated in full and set forth specifically herein.

                                            476.

        The allegations contained in paragraph 476 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 476 of the Amended Complaint, for want of


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knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            477.

        The allegations contained in paragraph 477 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 477 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            478.

        The allegations contained in paragraph 478 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 478 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            479.

        The allegations contained in paragraph 479 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 479 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.


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                                            480.

        The allegations contained in paragraph 480 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 480 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            481.

        The allegations contained in paragraph 481 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 481 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            482.

        Kuzzins denies the allegations contained in Paragraph 482 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 482 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff

upon strict proof of the same.




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                              COUNT NINETEEN
       Trafficking Victim Protection Reauthorization Act – Sex Trafficking
                                Perpetrator Claim
                         18 U.S.C. §§ 1591(a)(1), 1595(a)
                       (Against Americas Best Defendants)

                                            483.

        In response to the allegations contained in Paragraph 483 of the Plaintiff’s

Amended Complaint, Kuzzins incorporates the responses to Paragraphs 1 through

482 above, as if restated in full and set forth specifically herein.

                                            484.

        The allegations contained in paragraph 484 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 484 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            485.

        The allegations contained in paragraph 485 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 485 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.




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                                            486.

        The allegations contained in paragraph 486 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 486 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            487.

        The allegations contained in paragraph 487 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 487 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            488.

        The allegations contained in paragraph 488 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 488 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            489.

        The allegations contained in paragraph 489 of the Amended Complaint are


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not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 489 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            490.

        Kuzzins denies the allegations contained in Paragraph 490 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 490 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff

upon strict proof of the same.

                               COUNT TWENTY
       Trafficking Victim Protection Reauthorization Act – Sex Trafficking
                    Perpetrator Financial Beneficiary Claim
                         18 U.S.C. §§ 1591(a)(2), 1595(a)
                       (Against Americas Best Defendants)

                                            491.

        In response to the allegations contained in Paragraph 491 of the Plaintiff’s

Amended Complaint, Kuzzins incorporates the responses to Paragraphs 1 through

490 above, as if restated in full and set forth specifically herein.

                                            492.

        The allegations contained in paragraph 492 of the Amended Complaint are


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not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 492 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            493.

        The allegations contained in paragraph 493 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 493 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            494.

        The allegations contained in paragraph 494 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 494 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            495.

        The allegations contained in paragraph 495 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 495 of the Amended Complaint, for want of


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knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            496.

        The allegations contained in paragraph 496 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 496 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            497.

        The allegations contained in paragraph 497 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 497 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            498.

        The allegations contained in paragraph 498 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 498 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.


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                                            499.

        Kuzzins denies the allegations contained in Paragraph 499 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 499 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff

upon strict proof of the same.

                            COUNT TWENTY-ONE
       Trafficking Victim Protection Reauthorization Act – Sex Trafficking
                      Negligent Financial Beneficiary Claim
                               18 U.S.C. § 1595(a)
                       (Against Americas Best Defendants)

                                            500.

        In response to the allegations contained in Paragraph 500 of the Plaintiff’s

Amended Complaint, Kuzzins incorporates the responses to Paragraphs 1 through

499 above, as if restated in full and set forth specifically herein.

                                            501.

        The allegations contained in paragraph 501 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 501 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.


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                                            502.

        The allegations contained in paragraph 502 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 502 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            503.

        The allegations contained in paragraph 503 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 503 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            504.

        The allegations contained in paragraph 504 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 504 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            505.

        The allegations contained in paragraph 505 of the Amended Complaint are


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not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 505 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            506.

        The allegations contained in paragraph 506 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 506 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            507.

        Kuzzins denies the allegations contained in Paragraph 507 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 507 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff

upon strict proof of the same.

                            COUNT TWENTY-TWO
       Trafficking Victim Protection Reauthorization Act – Sex Trafficking
                               Perpetrator Claim
                         18 U.S.C. §§ 1591(a)(1), 1595(a)
                (Against Hampton Inn (NDH Atlanta) Defendants)


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                                            508.

        In response to the allegations contained in Paragraph 508 of the Plaintiff’s

Amended Complaint, Kuzzins incorporates the responses to Paragraphs 1 through

507 above, as if restated in full and set forth specifically herein.

                                            509.

        The allegations contained in paragraph 509 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 509 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            510.

        The allegations contained in paragraph 510 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 510 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            511.

        The allegations contained in paragraph 511 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 511 of the Amended Complaint, for want of


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knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            512.

        The allegations contained in paragraph 512 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 512 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            513.

        The allegations contained in paragraph 513 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 513 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            514.

        The allegations contained in paragraph 514 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 514 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.


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                                            515.

        Kuzzins denies the allegations contained in Paragraph 515 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 515 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff

upon strict proof of the same.

                           COUNT TWENTY-THREE
       Trafficking Victim Protection Reauthorization Act – Sex Trafficking
                    Perpetrator Financial Beneficiary Claim
                         18 U.S.C. §§ 1591(a)(2), 1595(a)
                (Against Hampton Inn (NDH Atlanta) Defendants)

                                            516.

        In response to the allegations contained in Paragraph 516 of the Plaintiff’s

Amended Complaint, Kuzzins incorporates the responses to Paragraphs 1 through

515 above, as if restated in full and set forth specifically herein.

                                            517.

        The allegations contained in paragraph 517 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 517 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.


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                                            518.

        The allegations contained in paragraph 518 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 518 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            519.

        The allegations contained in paragraph 519 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 519 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            520.

        The allegations contained in paragraph 520 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 520 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            521.

        The allegations contained in paragraph 521 of the Amended Complaint are


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not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 521 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            522.

        The allegations contained in paragraph 522 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 522 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            523.

        The allegations contained in paragraph 523 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 523 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            524.

        Kuzzins denies the allegations contained in Paragraph 524 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained


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in Paragraph 524 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff

upon strict proof of the same.

                           COUNT TWENTY-FOUR
       Trafficking Victim Protection Reauthorization Act – Sex Trafficking
                      Negligent Financial Beneficiary Claim
                               18 U.S.C. § 1595(a)
                (Against Hampton Inn (NDH Atlanta) Defendants)

                                            525.

        In response to the allegations contained in Paragraph 525 of the Plaintiff’s

Amended Complaint, Kuzzins incorporates the responses to Paragraphs 1 through

524 above, as if restated in full and set forth specifically herein.

                                            526.

        The allegations contained in paragraph 526 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 526 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            527.

        The allegations contained in paragraph 527 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 527 of the Amended Complaint, for want of


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knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            528.

        The allegations contained in paragraph 528 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 528 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            529.

        The allegations contained in paragraph 529 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 529 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            530.

        The allegations contained in paragraph 530 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 530 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.


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                                            531.

        The allegations contained in paragraph 531 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 531 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            532.

        Kuzzins denies the allegations contained in Paragraph 532 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 532 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff

upon strict proof of the same.

       VIOLATIONS OF THE GEORGIA RACKETEER INFLUENCED
               AND CORRUPT ORGANIZATIONS ACT
                (Allegations Common to Counts 25 - 38)

                                            533.

        Kuzzins denies the allegations contained in Paragraph 533 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 533 of the Amended Complaint, for want of knowledge or


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information sufficient to form a belief as to the truth thereof, and puts Plaintiff

upon strict proof of the same.

        A.        Acts of Racketeering Activity

             i.         Sex Trafficking in Violation of Federal Law

                                              534.

        Kuzzins denies the allegations contained in Paragraph 534 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 534 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff

upon strict proof of the same.

                  ii.      Sex Trafficking in Violation of State Law

                                              535.

        Kuzzins denies the allegations contained in Paragraph 535 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 535 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff

upon strict proof of the same.




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                                            536.

        Kuzzins denies the allegations and all subparts contained in Paragraph 536

of the Amended Complaint to the extent that it implies any wrongdoing on the part

of Kuzzins. Otherwise, Kuzzins can neither admit nor deny the remaining

allegations and all subparts contained in Paragraph 536 of the Amended

Complaint, for want of knowledge or information sufficient to form a belief as to

the truth thereof, and puts Plaintiff upon strict proof of the same.

                                            537.

        Kuzzins denies the allegations contained in Paragraph 537 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 537 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff

upon strict proof of the same

                                            538.

        Kuzzins denies the allegations contained in Paragraph 538 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 538 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff


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upon strict proof of the same.

                                            539.

        Kuzzins denies the allegations contained in Paragraph 539 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 539 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff

upon strict proof of the same.

                                            540.

        Kuzzins denies the allegations contained in Paragraph 540 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 540 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff

upon strict proof of the same.

                                            541.

        Kuzzins denies the allegations and all subparts contained in Paragraph 541

of the Amended Complaint to the extent that it implies any wrongdoing on the part

of Kuzzins. Otherwise, Kuzzins can neither admit nor deny the remaining

allegations and all subparts contained in Paragraph 541 of the Amended


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Complaint, for want of knowledge or information sufficient to form a belief as to

the truth thereof, and puts Plaintiff upon strict proof of the same.

                                               542.

        Kuzzins denies the allegations contained in Paragraph 542 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 542 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff

upon strict proof of the same.

                 iii.     False Imprisonment

                                               543.

        Kuzzins denies the allegations contained in Paragraph 543 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 543 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff

upon strict proof of the same.

                                               544.

        Kuzzins denies the allegations and all subparts contained in Paragraph 544

of the Amended Complaint to the extent that it implies any wrongdoing on the part


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of Kuzzins. Otherwise, Kuzzins can neither admit nor deny the remaining

allegations and all subparts contained in Paragraph 544 of the Amended

Complaint, for want of knowledge or information sufficient to form a belief as to

the truth thereof, and puts Plaintiff upon strict proof of the same.

                 iv.      Battery

                                              545.

        Kuzzins denies the allegations contained in Paragraph 545 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 545 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff

upon strict proof of the same.

                 v.       Keeping a Place of Prostitution

                                              546.

        Kuzzins denies the allegations contained in Paragraph 546 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 546 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff

upon strict proof of the same.


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                                            547.

        Kuzzins denies the allegations and all subparts contained in Paragraph 547

of the Amended Complaint to the extent that it implies any wrongdoing on the part

of Kuzzins. Otherwise, Kuzzins can neither admit nor deny the remaining

allegations and all subparts contained in Paragraph 547 of the Amended

Complaint, for want of knowledge or information sufficient to form a belief as to

the truth thereof, and puts Plaintiff upon strict proof of the same.

                                            548.

        Kuzzins denies the allegations and all subparts contained in Paragraph 548

of the Amended Complaint to the extent that it implies any wrongdoing on the part

of Kuzzins. Otherwise, Kuzzins can neither admit nor deny the remaining

allegations and all subparts contained in Paragraph 548 of the Amended

Complaint, for want of knowledge or information sufficient to form a belief as to

the truth thereof, and puts Plaintiff upon strict proof of the same.

                 vi.      Pimping

                                            549.

        Kuzzins denies the allegations contained in Paragraph 549 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 549 of the Amended Complaint, for want of knowledge or


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information sufficient to form a belief as to the truth thereof, and puts Plaintiff

upon strict proof of the same.

                 vii.     Pandering

                                            550.

        Kuzzins denies the allegations contained in Paragraph 550 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 550 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff

upon strict proof of the same.

                                            551.

        Kuzzins denies the allegations and all subparts contained in Paragraph 551

of the Amended Complaint to the extent that it implies any wrongdoing on the part

of Kuzzins. Otherwise, Kuzzins can neither admit nor deny the remaining

allegations and all subparts contained in Paragraph 551 of the Amended

Complaint, for want of knowledge or information sufficient to form a belief as to

the truth thereof, and puts Plaintiff upon strict proof of the same.

                                            552.

        Kuzzins denies the allegations contained in Paragraph 552 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.


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Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 552 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff

upon strict proof of the same.

        B.       The Acts of Racketeering Activity Formed a Pattern

                                            553.

        Kuzzins denies the allegations contained in Paragraph 553 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 553 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff

upon strict proof of the same.

                                            554.

        Kuzzins denies the allegations contained in Paragraph 554 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 554 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff

upon strict proof of the same.




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                                            555.

        Kuzzins denies the allegations contained in Paragraph 555 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 555 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff

upon strict proof of the same.

                                            556.

        Kuzzins denies the allegations contained in Paragraph 556 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 556 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff

upon strict proof of the same.

                                            557.

        Kuzzins denies the allegations contained in Paragraph 557 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 557 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff


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upon strict proof of the same.

                                            558.

        Kuzzins denies the allegations contained in Paragraph 558 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 558 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff

upon strict proof of the same.

                                            559.

        Kuzzins denies the allegations contained in Paragraph 559 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 559 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff

upon strict proof of the same.

                                            560.

        Kuzzins denies the allegations and all subparts contained in Paragraph 560

of the Amended Complaint to the extent that it implies any wrongdoing on the part

of Kuzzins. Otherwise, Kuzzins can neither admit nor deny the remaining

allegations and all subparts contained in Paragraph 560 of the Amended


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Complaint, for want of knowledge or information sufficient to form a belief as to

the truth thereof, and puts Plaintiff upon strict proof of the same.

                               COUNT TWENTY-FIVE
             Violations of the Georgia Racketeer Influenced and Corrupt
                       Organizations Act O.C.G.A. § 16-14-4(c)
                      (Against Red Roof (Smyrna) Defendants)

                                            561.

        In response to the allegations contained in Paragraph 561 of the Plaintiff’s

Amended Complaint, Kuzzins incorporates the responses to Paragraphs 1 through

560 above, as if restated in full and set forth specifically herein.

                                            562.

        The allegations contained in paragraph 562 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 562 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            563.

        The allegations contained in paragraph 563 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 563 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

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                                            564.

        The allegations contained in paragraph 564 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 564 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            565.

        The allegations contained in paragraph 565 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 565 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            566.

        The allegations contained in paragraph 566 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 566 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            567.

        The allegations contained in paragraph 567 of the Amended Complaint are


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not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 567 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            568.

        The allegations contained in paragraph 568 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 568 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            569.

        The allegations contained in paragraph 569 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 569 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            570.

        The allegations contained in paragraph 570 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 570 of the Amended Complaint, for want of


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knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                            COUNT TWENTY-SIX
           Georgia Racketeer Influenced and Corrupt Organizations Act
                              O.C.G.A. § 16-14-4(a)
                    (Against Red Roof (Smyrna) Defendants)

                                            571.

        In response to the allegations contained in Paragraph 571 of the Plaintiff’s

Amended Complaint, Kuzzins incorporates the responses to Paragraphs 1 through

570 above, as if restated in full and set forth specifically herein.

                                            572.

        The allegations contained in paragraph 572 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 572 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            573.

        The allegations contained in paragraph 573 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 573 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

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                                            574.

        The allegations contained in paragraph 574 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 574 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            575.

        The allegations contained in paragraph 575 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 575 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            576.

        The allegations contained in paragraph 576 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 576 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                              COUNT TWENTY-SEVEN
             Violations of the Georgia Racketeer Influenced and Corrupt
                       Organizations Act O.C.G.A. § 16-14-4(c)
                       (Against Red Roof (Atlanta) Defendants)

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                                            577.

        In response to the allegations contained in Paragraph 577 of the Plaintiff’s

Amended Complaint, Kuzzins incorporates the responses to Paragraphs 1 through

577 above, as if restated in full and set forth specifically herein.

                                            578.

        The allegations contained in paragraph 578 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 578 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            579.

        The allegations contained in paragraph 579 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 579 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            580.

        The allegations contained in paragraph 580 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 580 of the Amended Complaint, for want of


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knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            581.

        The allegations contained in paragraph 581 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 581 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            582.

        The allegations contained in paragraph 582 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 582 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            583.

        The allegations contained in paragraph 583 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 583 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.


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                                            584.

        The allegations contained in paragraph 584 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 584 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            585.

        The allegations contained in paragraph 585 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 585 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            586.

        The allegations contained in paragraph 586 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 586 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                          COUNT TWENTY-EIGHT
           Georgia Racketeer Influenced and Corrupt Organizations Act
                              O.C.G.A. § 16-14-4(a)
                    (Against Red Roof (Atlanta) Defendants)

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                                            587.

        In response to the allegations contained in Paragraph 587 of the Plaintiff’s

Amended Complaint, Kuzzins incorporates the responses to Paragraphs 1 through

587 above, as if restated in full and set forth specifically herein.

                                            588.

        The allegations contained in paragraph 588 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 588 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            589.

        The allegations contained in paragraph 589 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 589 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            590.

        The allegations contained in paragraph 590 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 590 of the Amended Complaint, for want of


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knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            591.

        The allegations contained in paragraph 591 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 591 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            592.

        The allegations contained in paragraph 592 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 592 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            593.

        The allegations contained in paragraph 593 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 593 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.


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                               COUNT TWENTY-NINE
             Violations of the Georgia Racketeer Influenced and Corrupt
                       Organizations Act O.C.G.A. § 16-14-4(c)
                    (Against Suburban Extended Stay Defendants)

                                            594.

        In response to the allegations contained in Paragraph 594 of the Plaintiff’s

Amended Complaint, Kuzzins incorporates the responses to Paragraphs 1 through

593 above, as if restated in full and set forth specifically herein.

                                            595.

        The allegations contained in paragraph 595 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 595 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            596.

        The allegations contained in paragraph 596 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 596 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            597.

        The allegations contained in paragraph 597 of the Amended Complaint are

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not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 597 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            598.

        The allegations contained in paragraph 598 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 598 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            599.

        The allegations contained in paragraph 599 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 599 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            600.

        The allegations contained in paragraph 600 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 600 of the Amended Complaint, for want of


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knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            601.

        The allegations contained in paragraph 601 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 601 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            602.

        The allegations contained in paragraph 602 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 602 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            603.

        The allegations contained in paragraph 603 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 603 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.


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                               COUNT THIRTY
           Georgia Racketeer Influenced and Corrupt Organizations Act
                              O.C.G.A. § 16-14-4(a)
                  (Against Suburban Extended Stay Defendants)

                                            604.

        In response to the allegations contained in Paragraph 604 of the Plaintiff’s

Amended Complaint, Kuzzins incorporates the responses to Paragraphs 1 through

603 above, as if restated in full and set forth specifically herein.

                                            605.

        The allegations contained in paragraph 605 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 605 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            606.

        The allegations contained in paragraph 606 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 606 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            607.

        The allegations contained in paragraph 607 of the Amended Complaint are

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not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 607 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            608.

        The allegations contained in paragraph 608 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 608 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            609.

        The allegations contained in paragraph 609 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 609 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            610.

        The allegations contained in paragraph 610 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 610 of the Amended Complaint, for want of


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knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                COUNT THIRTY-ONE
             Violations of the Georgia Racketeer Influenced and Corrupt
                       Organizations Act O.C.G.A. § 16-14-4(c)
                            (Against La Quinta Defendants)

                                            611.

        In response to the allegations contained in Paragraph 611 of the Plaintiff’s

Amended Complaint, Kuzzins incorporates the responses to Paragraphs 1 through

610 above, as if restated in full and set forth specifically herein.

                                            612.

        The allegations contained in paragraph 612 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 612 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            613.

        The allegations contained in paragraph 613 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 613 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

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                                            614.

        The allegations contained in paragraph 614 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 614 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            615.

        The allegations contained in paragraph 615 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 615 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            616.

        The allegations contained in paragraph 616 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 616 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            617.

        The allegations contained in paragraph 617 of the Amended Complaint are


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not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 617 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            618.

        The allegations contained in paragraph 618 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 618 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            619.

        The allegations contained in paragraph 619 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 619 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            620.

        The allegations contained in paragraph 620 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 620 of the Amended Complaint, for want of


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knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                            COUNT THIRTY-TWO
           Georgia Racketeer Influenced and Corrupt Organizations Act
                              O.C.G.A. § 16-14-4(a)
                        (Against La Quinta Defendants)

                                            621.

        In response to the allegations contained in Paragraph 621 of the Plaintiff’s

Amended Complaint, Kuzzins incorporates the responses to Paragraphs 1 through

620 above, as if restated in full and set forth specifically herein.

                                            622.

        The allegations contained in paragraph 622 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 622 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            623.

        The allegations contained in paragraph 623 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 623 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

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                                            624.

        The allegations contained in paragraph 624 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 624 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            625.

        The allegations contained in paragraph 625 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 625 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            626.

        The allegations contained in paragraph 626 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 626 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            627.

        The allegations contained in paragraph 627 of the Amended Complaint are


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not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 627 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                              COUNT THIRTY-THREE
             Violations of the Georgia Racketeer Influenced and Corrupt
                       Organizations Act O.C.G.A. § 16-14-4(c)
                             (Against Microtel Defendants)

                                            628.

        In response to the allegations contained in Paragraph 628 of the Plaintiff’s

Amended Complaint, Kuzzins incorporates the responses to Paragraphs 1 through

627 above, as if restated in full and set forth specifically herein.

                                            629.

        Kuzzins denies the allegations contained in Paragraph 629 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 629 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff

upon strict proof of the same.

                                            630.

        Kuzzins denies the allegations contained in Paragraph 630 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

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Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 630 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff

upon strict proof of the same.

                                            631.

        Kuzzins denies the allegations contained in Paragraph 631 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 631 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff

upon strict proof of the same.

                                            632.

        Kuzzins denies the allegations contained in Paragraph 632 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 632 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff

upon strict proof of the same.

                                            633.

        Kuzzins denies the allegations contained in Paragraph 633 of the Amended


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Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 633 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff

upon strict proof of the same.

                                            634.

        Kuzzins denies the allegations contained in Paragraph 634 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 634 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff

upon strict proof of the same.

                                            635.

        Kuzzins denies the allegations contained in Paragraph 635 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 635 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff

upon strict proof of the same.




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                                            636.

        Kuzzins denies the allegations contained in Paragraph 636 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 636 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff

upon strict proof of the same.

                                            637.

        Kuzzins denies the allegations contained in Paragraph 637 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 637 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff

upon strict proof of the same.

                           COUNT THIRTY-FOUR
           Georgia Racketeer Influenced and Corrupt Organizations Act
                              O.C.G.A. § 16-14-4(a)
                         (Against Microtel Defendants)

                                            638.

        In response to the allegations contained in Paragraph 638 of the Plaintiff’s

Amended Complaint, Kuzzins incorporates the responses to Paragraphs 1 through

637 above, as if restated in full and set forth specifically herein.

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                                            639.

        Kuzzins denies the allegations contained in Paragraph 639 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 639 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff

upon strict proof of the same.

                                            640.

        Kuzzins denies the allegations contained in Paragraph 640 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 640 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff

upon strict proof of the same.

                                            641.

        Kuzzins denies the allegations contained in Paragraph 641 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 641 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff


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upon strict proof of the same.

                                            642.

        Kuzzins denies the allegations contained in Paragraph 642 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 642 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff

upon strict proof of the same.

                                            643.

        Kuzzins denies the allegations contained in Paragraph 643 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 643 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff

upon strict proof of the same.

                                            644.

        Kuzzins denies the allegations contained in Paragraph 644 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 644 of the Amended Complaint, for want of knowledge or


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information sufficient to form a belief as to the truth thereof, and puts Plaintiff

upon strict proof of the same.

                               COUNT THIRTY-FIVE
             Violations of the Georgia Racketeer Influenced and Corrupt
                       Organizations Act O.C.G.A. § 16-14-4(c)
                             (Against Ramada Defendants)

                                            645.

        In response to the allegations contained in Paragraph 645 of the Plaintiff’s

Amended Complaint, Kuzzins incorporates the responses to Paragraphs 1 through

644 above, as if restated in full and set forth specifically herein.

                                            646.

        The allegations contained in paragraph 646 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 646 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            647.

        The allegations contained in paragraph 647 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 647 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

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                                            648.

        The allegations contained in paragraph 648 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 648 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            649.

        The allegations contained in paragraph 649 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 649 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            650.

        The allegations contained in paragraph 650 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 650 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            651.

        The allegations contained in paragraph 651 of the Amended Complaint are


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not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 651 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            652.

        The allegations contained in paragraph 652 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 652 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            653.

        The allegations contained in paragraph 653 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 653 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            654.

        The allegations contained in paragraph 654 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 654 of the Amended Complaint, for want of


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knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                             COUNT THIRTY-SIX
           Georgia Racketeer Influenced and Corrupt Organizations Act
                              O.C.G.A. § 16-14-4(a)
                         (Against Ramada Defendants)

                                            655.

        In response to the allegations contained in Paragraph 655 of the Plaintiff’s

Amended Complaint, Kuzzins incorporates the responses to Paragraphs 1 through

654 above, as if restated in full and set forth specifically herein.

                                            656.

        The allegations contained in paragraph 656 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 656 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            657.

        The allegations contained in paragraph 657 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 657 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

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                                            658.

        The allegations contained in paragraph 658 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 658 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            659.

        The allegations contained in paragraph 659 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 659 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            660.

        The allegations contained in paragraph 660 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 660 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            661.

        The allegations contained in paragraph 661 of the Amended Complaint are


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not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 661 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                              COUNT THIRTY-SEVEN
             Violations of the Georgia Racketeer Influenced and Corrupt
                       Organizations Act O.C.G.A. § 16-14-4(c)
                         (Against Americas Best Defendants)

                                            662.

        In response to the allegations contained in Paragraph 662 of the Plaintiff’s

Amended Complaint, Kuzzins incorporates the responses to Paragraphs 1 through

661 above, as if restated in full and set forth specifically herein.

                                            663.

        The allegations contained in paragraph 663 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 663 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            664.

        The allegations contained in paragraph 664 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 664 of the Amended Complaint, for want of

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knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            665.

        The allegations contained in paragraph 665 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 665 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            666.

        The allegations contained in paragraph 666 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 666 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            667.

        The allegations contained in paragraph 667 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 667 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.


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                                            668.

        The allegations contained in paragraph 668 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 668 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            669.

        The allegations contained in paragraph 669 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 669 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            670.

        The allegations contained in paragraph 670 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 670 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            671.

        The allegations contained in paragraph 671 of the Amended Complaint are


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not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 671 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                           COUNT THIRTY-EIGHT
           Georgia Racketeer Influenced and Corrupt Organizations Act
                              O.C.G.A. § 16-14-4(a)
                      (Against Americas Best Defendants)

                                            672.

        In response to the allegations contained in Paragraph 672 of the Plaintiff’s

Amended Complaint, Kuzzins incorporates the responses to Paragraphs 1 through

671 above, as if restated in full and set forth specifically herein.

                                            673.

        The allegations contained in paragraph 673 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 673 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            674.

        The allegations contained in paragraph 674 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 674 of the Amended Complaint, for want of

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knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            675.

        The allegations contained in paragraph 675 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 675 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            676.

        The allegations contained in paragraph 676 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 676 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            677.

        The allegations contained in paragraph 677 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 677 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.


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                                            678.

        The allegations contained in paragraph 678 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 678 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                               COUNT THIRTY-NINE
             Violations of the Georgia Racketeer Influenced and Corrupt
                       Organizations Act O.C.G.A. § 16-14-4(c)
                 (Against Hampton Inn (NDH Atlanta) Defendants)

                                            679.

        In response to the allegations contained in Paragraph 679 of the Plaintiff’s

Amended Complaint, Kuzzins incorporates the responses to Paragraphs 1 through

678 above, as if restated in full and set forth specifically herein.

                                            680.

        The allegations contained in paragraph 680 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 680 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            681.

        The allegations contained in paragraph 681 of the Amended Complaint are

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not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 681 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            682.

        The allegations contained in paragraph 682 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 682 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            683.

        The allegations contained in paragraph 683 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 683 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            684.

        The allegations contained in paragraph 684 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 684 of the Amended Complaint, for want of


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knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            685.

        The allegations contained in paragraph 685 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 685 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            686.

        The allegations contained in paragraph 686 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 686 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            687.

        The allegations contained in paragraph 687 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 687 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.


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                                            688.

        The allegations contained in paragraph 688 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 688 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                COUNT FORTY
           Georgia Racketeer Influenced and Corrupt Organizations Act
                              O.C.G.A. § 16-14-4(a)
                (Against Hampton Inn (NDH Atlanta) Defendants)

                                            689.

        In response to the allegations contained in Paragraph 689 of the Plaintiff’s

Amended Complaint, Kuzzins incorporates the responses to Paragraphs 1 through

688 above, as if restated in full and set forth specifically herein.

                                            690.

        The allegations contained in paragraph 690 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 690 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            691.

        The allegations contained in paragraph 691 of the Amended Complaint are

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not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 691 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            692.

        The allegations contained in paragraph 692 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 692 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            693.

        The allegations contained in paragraph 693 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 693 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            694.

        The allegations contained in paragraph 694 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 694 of the Amended Complaint, for want of


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knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            695.

        The allegations contained in paragraph 695 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 695 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                   COUNT FORTY-ONE
                                        Negligence
                        (Against the Red Roof (Smyrna) Defendants)

                                            696.

        In response to the allegations contained in Paragraph 696 of the Plaintiff’s

Amended Complaint, Kuzzins incorporates the responses to Paragraphs 1 through

695 above, as if restated in full and set forth specifically herein.

                                            697.

        The allegations contained in paragraph 697 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 697 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.


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                                            698.

        The allegations contained in paragraph 698 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 698 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            699.

        The allegations contained in paragraph 699 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 699 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            700.

        The allegations contained in paragraph 700 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 700 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            701.

        The allegations contained in paragraph 701 of the Amended Complaint are


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not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 701 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            702.

        The allegations contained in paragraph 702 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 702 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            703.

        The allegations contained in paragraph 703 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 703 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            704.

        The allegations contained in paragraph 704 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 704 of the Amended Complaint, for want of


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knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            705.

        The allegations contained in paragraph 705 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 705 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            706.

        The allegations contained in paragraph 706 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 706 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            707.

        The allegations contained in paragraph 707 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 707 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.


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                                            708.

        The allegations contained in paragraph 708 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 708 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                   COUNT FORTY-TWO
                                         Negligence
                           (Against Red Roof (Atlanta) Defendants)

                                            709.

        In response to the allegations contained in Paragraph 709 of the Plaintiff’s

Amended Complaint, Kuzzins incorporates the responses to Paragraphs 1 through

708 above, as if restated in full and set forth specifically herein.

                                            710.

        The allegations contained in paragraph 710 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 710 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            711.

        The allegations contained in paragraph 711 of the Amended Complaint are


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not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 711 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            712.

        The allegations contained in paragraph 712 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 712 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            713.

        The allegations contained in paragraph 713 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 713 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            714.

        The allegations contained in paragraph 714 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 714 of the Amended Complaint, for want of


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knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            715.

        The allegations contained in paragraph 715 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 715 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            716.

        The allegations contained in paragraph 716 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 716 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            717.

        The allegations contained in paragraph 717 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 717 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.


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                                            718.

        The allegations contained in paragraph 718 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 718 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            719.

        The allegations contained in paragraph 719 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 719 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            720.

        The allegations contained in paragraph 720 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 720 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            721.

        The allegations contained in paragraph 721 of the Amended Complaint are


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not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 721 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                 COUNT FORTY-THREE
                                       Negligence
                       (Against Suburban Extended Stay Defendants)

                                            722.

        In response to the allegations contained in Paragraph 722 of the Plaintiff’s

Amended Complaint, Kuzzins incorporates the responses to Paragraphs 1 through

721 above, as if restated in full and set forth specifically herein.

                                            723.

        The allegations contained in paragraph 723 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 723 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            724.

        The allegations contained in paragraph 724 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 724 of the Amended Complaint, for want of


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knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            725.

        The allegations contained in paragraph 725 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 725 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            726.

        The allegations contained in paragraph 726 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 726 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            727.

        The allegations contained in paragraph 727 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 727 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.


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                                            728.

        The allegations contained in paragraph 728 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 728 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            729.

        The allegations contained in paragraph 729 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 729 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            730.

        The allegations contained in paragraph 730 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 730 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            731.

        The allegations contained in paragraph 731 of the Amended Complaint are


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not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 731 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            732.

        The allegations contained in paragraph 732 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 732 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            733.

        The allegations contained in paragraph 733 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 733 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            734.

        The allegations contained in paragraph 734 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 734 of the Amended Complaint, for want of


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knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                    COUNT FORTY-FOUR
                                           Negligence
                                (Against the Microtel Defendants)

                                              735.

        In response to the allegations contained in Paragraph 735 of the Plaintiff’s

Amended Complaint, Kuzzins incorporates the responses to Paragraphs 1 through

734 above, as if restated in full and set forth specifically herein.

                                              736.

        Kuzzins denies the allegations contained in Paragraph 736 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 736 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff

upon strict proof of the same.

                                              737.

        Kuzzins denies the allegations contained in Paragraph 737 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 737 of the Amended Complaint, for want of knowledge or


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information sufficient to form a belief as to the truth thereof, and puts Plaintiff

upon strict proof of the same.

                                            738.

        Kuzzins denies the allegations contained in Paragraph 738 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 738 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff

upon strict proof of the same.

                                            739.

        Kuzzins denies the allegations contained in Paragraph 739 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 739 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff

upon strict proof of the same.

                                            740.

        Kuzzins denies the allegations contained in Paragraph 740 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained


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in Paragraph 740 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff

upon strict proof of the same.

                                            741.

        Kuzzins denies the allegations contained in Paragraph 741 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 741 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff

upon strict proof of the same.

                                            742.

        Kuzzins denies the allegations contained in Paragraph 742 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 742 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff

upon strict proof of the same.

                                            743.

        Kuzzins denies the allegations contained in Paragraph 743 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.


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Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 743 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff

upon strict proof of the same.

                                            744.

        Kuzzins denies the allegations contained in Paragraph 744 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 744 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff

upon strict proof of the same.

                                            745.

        Kuzzins denies the allegations contained in Paragraph 745 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 745 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff

upon strict proof of the same.

                                            746.

        Kuzzins denies the allegations contained in Paragraph 746 of the Amended


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Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 746 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff

upon strict proof of the same.

                                             747.

        Kuzzins denies the allegations contained in Paragraph 747 of the Amended

Complaint to the extent that it implies any wrongdoing on the part of Kuzzins.

Otherwise, Kuzzins can neither admit nor deny the remaining allegations contained

in Paragraph 747 of the Amended Complaint, for want of knowledge or

information sufficient to form a belief as to the truth thereof, and puts Plaintiff

upon strict proof of the same.

                                    COUNT FORTY-FIVE
                                           Negligence
                                (Against the Ramada Defendants)

                                             748.

        In response to the allegations contained in Paragraph 748 of the Plaintiff’s

Amended Complaint, Kuzzins incorporates the responses to Paragraphs 1 through

747 above, as if restated in full and set forth specifically herein.

                                             749.

        The allegations contained in paragraph 749 of the Amended Complaint are


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not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 749 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            750.

        The allegations contained in paragraph 750 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 750 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            751.

        The allegations contained in paragraph 751 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 751 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            752.

        The allegations contained in paragraph 752 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 752 of the Amended Complaint, for want of


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knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same

                                            753.

        The allegations contained in paragraph 753 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 753 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same

                                            754.

        The allegations contained in paragraph 754 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 754 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same

                                            755.

        The allegations contained in paragraph 755 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 755 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same


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                                            756.

        The allegations contained in paragraph 756 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 756 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            757.

        The allegations contained in paragraph 757 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 757 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            758.

        The allegations contained in paragraph 758 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 758 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            759.

        The allegations contained in paragraph 759 of the Amended Complaint are


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not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 759 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                             760.

        The allegations contained in paragraph 760 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 760 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                     COUNT FORTY-SIX
                                          Negligence
                            (Against the Americas Best Defendants)

                                             761.

        In response to the allegations contained in Paragraph 761 of the Plaintiff’s

Amended Complaint, Kuzzins incorporates the responses to Paragraphs 1 through

760 above, as if restated in full and set forth specifically herein.

                                             762.

        The allegations contained in paragraph 762 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 762 of the Amended Complaint, for want of


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knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            763.

        The allegations contained in paragraph 763 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 763 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            764.

        The allegations contained in paragraph 764 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 764 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            765.

        The allegations contained in paragraph 765 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 765 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.


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                                            766.

        The allegations contained in paragraph 766 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 766 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            767.

        The allegations contained in paragraph 767 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 767 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            768.

        The allegations contained in paragraph 768 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 768 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            769.

        The allegations contained in paragraph 769 of the Amended Complaint are


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not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 769 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            770.

        The allegations contained in paragraph 770 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 770 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            771.

        The allegations contained in paragraph 771 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 771 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            772.

        The allegations contained in paragraph 772 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 772 of the Amended Complaint, for want of


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knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            773.

        The allegations contained in paragraph 773 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 773 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                               COUNT FORTY-SEVEN
                                     Negligence
                 (Against the Hampton Inn (NDH Atlanta) Defendants)

                                            774.

        In response to the allegations contained in Paragraph 774 of the Plaintiff’s

Amended Complaint, Kuzzins incorporates the responses to Paragraphs 1 through

773 above, as if restated in full and set forth specifically herein.

                                            775.

        The allegations contained in paragraph 775 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 775 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.


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                                            776.

        The allegations contained in paragraph 776 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 776 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            777.

        The allegations contained in paragraph 777 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 777 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            778.

        The allegations contained in paragraph 778 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 778 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            779.

        The allegations contained in paragraph 779 of the Amended Complaint are


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not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 779 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            780.

        The allegations contained in paragraph 780 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 780 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            781.

        The allegations contained in paragraph 781 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 781 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            782.

        The allegations contained in paragraph 782 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 782 of the Amended Complaint, for want of


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knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            783.

        The allegations contained in paragraph 783 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 783 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            784.

        The allegations contained in paragraph 784 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 784 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            785.

        The allegations contained in paragraph 785 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 785 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.


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                                              786.

        The allegations contained in paragraph 786 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 786 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                   COUNT FORTY-EIGHT
                                            Negligence
                               (Against the La Quinta Defendants)

                                              787.

        In response to the allegations contained in Paragraph 787 of the Plaintiff’s

Amended Complaint, Kuzzins incorporates the responses to Paragraphs 1 through

786 above, as if restated in full and set forth specifically herein.

                                              788.

        The allegations contained in paragraph 788 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 788 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                              789.

        The allegations contained in paragraph 789 of the Amended Complaint are


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not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 789 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            790.

        The allegations contained in paragraph 790 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 790 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            791.

        The allegations contained in paragraph 791 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 791 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            792.

        The allegations contained in paragraph 792 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 792 of the Amended Complaint, for want of


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knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            793.

        The allegations contained in paragraph 793 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 793 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            794.

        The allegations contained in paragraph 794 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 794 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            795.

        The allegations contained in paragraph 795 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 795 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.


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                                            796.

        The allegations contained in paragraph 796 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 796 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            797.

        The allegations contained in paragraph 797 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 797 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            798.

        The allegations contained in paragraph 798 of the Amended Complaint are

not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 798 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                            799.

        The allegations contained in paragraph 799 of the Amended Complaint are


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not directed at Kuzzins. In further responding, Kuzzins can neither admit nor deny

the allegations contained in Paragraph 799 of the Amended Complaint, for want of

knowledge or information sufficient to form a belief as to the truth thereof, and

puts Plaintiff upon strict proof of the same.

                                               800.

        All allegations not expressly admitted or otherwise addressed herein are

hereby denied.

                                       PRAYER FOR RELIEF

        Kuzzins denies that Plaintiff is entitled to the relief outlined in the

WHEREFORE Paragraph of the Amended Complaint.

                                           JURY DEMAND

        Kuzzins hereby demands a trial by jury to the fullest extent permitted by law

on all triable issue.

        WHEREFORE, having fully answered the Amended Complaint, Kuzzins

Buford, LLC respectfully prays for the following relief from this Honorable Court:

        1.       That Plaintiff’s claims be denied and Plaintiff’s Amended Complaint

be dismissed with prejudice;

        2.       That all costs, attorney’s fees, and expenses of this action be taxed

against Plaintiff;

        3.       That the case be tried before a jury of twelve (12) persons; and


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        4.       For such other and further relief as this Honorable Court deems just

and proper.

        Respectfully submitted, this 16th day of December, 2019.

                                           CRUSER, MITCHELL, NOVITZ,
                                           SANCHEZ, GASTON & ZIMET, LLP




                                           GLENN C. TORNILLO, ESQ.
                                           Georgia Bar No. 714754
                                           KRISTIN L. YODER, ESQ.
                                           Georgia Bar No. 229210
                                           J. ROBB CRUSER, ESQ.
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                              CERTIFICATE OF COMPLIANCE

        Undersigned counsel certifies the foregoing document has been prepared

with one of the fonts and point selections (Times New Roman, 14 point) approved

by the Court in Local Rule 5.1(C).

        Respectfully submitted, this 16th day of December, 2019.

                                           CRUSER, MITCHELL, NOVITZ,
                                           SANCHEZ, GASTON & ZIMET, LLP




                                           GLENN C. TORNILLO, ESQ.
                                           Georgia Bar No. 714754
                                           KRISTIN L. YODER, ESQ.
                                           Georgia Bar No.: 229210
                                           J. ROBB CRUSER, ESQ.
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                     IN THE UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

 JANE DOE 1,                    §
                                §
       Plaintiff,               §
                                §
 vs.                            §
                                §
 RED ROOF INNS, INC., VARAHI    §                    CIVIL ACTION FILE
 HOTEL, LLC, FMW RRI NC, LLC,   §
 WESTMONT HOSPITALITY           §                    NO. 1:19 CV 03841-
 GROUP, INC., RRI III, LLC, WHG §                    WMR
 SU ATLANTA, LP, SUB-SU HOTEL   §
 GP, LLC, CHOICE HOTELS         §
 INTERNATIONAL, INC.,           §
 WYNDHAM HOTELS & RESORTS, §
 INC., MICROTEL INNS AND        §
 SUITES FRANCHISING, INC.,      §
 KUZZINS BUFORD, LLC, RAMADA §
 WORLDWIDE, INC., NEWTEL V      §
 CORPORATION, CPLG HOL, LLC, §
 CPLG PROPERTIES, LLC,          §
 COREPOINT LODGING, INC., LQ    §
 MANAGEMENT, LLC, LA QUINTA §
 WORLDWIDE, LLC, HAMENT         §
 DESAI, VAD PROPERTY            §
 MANAGEMENT, LLC, VANTAGE       §
 HOSPITALITY GROUP, INC., 2014  §
 SE OWNER 5-EMORY, LLC,         §
 LAXMI DRUID HILLS HOTEL,       §
 LLC, JHM HOTELS                §
 MANAGEMENT, INC., AURO         §
 HOTELS MANAGEMENT, LLC,        §
 HILTON FRANCHISE HOLDINGS,     §
 LLC, HILTON DOMESTIC           §
 OPERATING COMPANY, INC.,       §
 HILTON WORLDWIDE               §
 HOLDINGS, INC. and JOHN DOES   §

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 1-10,                                                 §
                                                       §
          Defendants.                                  §

                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this day, I electronically filed DEFENDANT

KUZZINS BUFORD, LLC’S ANSWER AND DEFENSES TO PLAINTIFF’S

AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL with the

Clerk of Court using the CM/ECF system, which will automatically send e-mail

notification of such filing to the following attorney of record:

     JONATHAN S. TONGE, ESQ.                               JOHN E. FLOYD, ESQ.
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   RRI NC, LLC, Westmont Hospitality Group, Inc.,



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                SUB-SU Hotel GP, LLC


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                                                             Resorts, Inc., Microtel Inns and Suites Franchising,
                                                           Inc., Ramada Worldwide, Inc. and CorePoint Lodging,
                                                                                      Inc.


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        Respectfully submitted, this 16th day of December, 2019.

                                           CRUSER, MITCHELL, NOVITZ,
                                           SANCHEZ, GASTON & ZIMET, LLP




                                           GLENN C. TORNILLO, ESQ.
                                           Georgia Bar No. 714754
                                           KRISTIN L. YODER, ESQ.
                                           Georgia Bar No.: 229210
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